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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)     *           MDL 2592
PRODUCTS LIABILITY LITIGATION    *
                                 *           SECTION L
THIS DOCUMENT RELATES TO:        *
      ALL CASES                  *           JUDGE ELDON E. FALLON
                                 *
                                 *           MAG. JUDGE NORTH
                                 *
************************


                           EXHIBIT 13 TO
      PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
       FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                   FROM OTHER ANTICOAGULANTS




FILED UNDER SEAL
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   1                   UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
   2
   3
         IN RE:     XARELTO              )   MDL No.:      2592
   4     (RIVAROXABAN) PRODUCTS          )   Section:      L
         LIABILITY LITIGATION            )   Judge Eldon E. Fallon
   5                                     )   Mag. Judge North
                                         )
   6                                     )
                                         )
   7     JOSEPH ORR, JR., as             )   No.:    15-03708
         lawful surviving                )
   8     spouse of SHARYN ORR            )
   9
  10
  11    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
  12
  13
  14        Videotaped deposition of SAMMY KHATIB, M.D.,
  15    taken on Saturday, January 21, 2017, in the office
  16    of Irwin, Fritchie, Urquhart & Moore, L.L.C., 400
  17    Poydras Street, Suite 2700, New Orleans, Louisiana
  18    70130, commencing at 9:02 a.m.
  19
  20
  21
  22
  23
        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

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  1             INDEX                                     1          APPEARANCES
                                  Page                    2 REPRESENTING PLAINTIFFS:
  2                                                       3    LEVIN, PAPANTONIO, THOMAS,
      Caption.............................1                    MITCHELL, RAFFERTY, PROCTOR, P.A.
  3
                                                               BY: NEIL E. McWILLIAMS, JR., ESQ.
      Appearances.........................4               4
                                                               316 South Baylen Street
  4
      Agreement of Counsel................6               5    Pensacola, Florida 32502
  5                                                            850.435.7000
      Witness' Certificate................148             6    Nmcwilliams@levinlaw.com
  6
                                                          7    THE LAMBERT FIRM, A.P.L.C.
      Reporter's Certificate..............149                  BY: EMILY C. JEFFCOTT, ESQ.
  7
  8                                                       8    701 Magazine Street
            EXAMINATION                                        New Orleans, Louisiana 70130
  9                                                       9    504.581.1750
      MS. JEFFCOTT........................8, 134               Ejeffcott@thelambertfirm.com
 10
      MR. IRWIN...........................129            10
                                                               GOZA & HONNOLD, L.L.C.
 11
 12           EXHIBITS                                   11    BY: BRADLEY D. HONNOLD, ESQ.
 13   Exhibit No. 1.......................9                    11181 Overbrook Road, Suite 200
      Plaintiff's Amended Notice with                    12    Leawood, Kansas 66211-2241
 14   Subpoena Duces Tecum of Oral Videotaped                  913.451.3433
      Deposition of Sammy Khatib, MD                     13    Bhonnold@gohonlaw.com
 15
      Exhibit No. 2.......................10             14
 16   Sammy Khatib, M.D., Additional                     15
      Reliance List 2017.01.20                              REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
 17
                                                         16 INC., and BAYER PHARMA AG:
      Exhibit No. 3.......................10                   NELSON, MULLINS, RILEY &
 18   Updated Materials Relied on, Reviewed,             17
                                                               SCARBOROUGH, L.L.P.
      and/or Considered by Dr. Sammy Khatib
 19   M.D.                                               18    BY: ERIC A. PAINE, ESQ.
 20   Exhibit No. 4.......................11                   1320 Main Street, 17th Floor
      (statements/invoices)                              19    Columbia, South Carolina 29201
 21
                                                               803.255.5518
      Exhibit No. 5.......................20                   Eric.paine@nelsonmullins.com
 22   Expert Report of Dr. Sammy Khatib,                 20
      Sharyn Orr, et al.                                 21
 23                                                      22
      Exhibit No. 6.......................24             23
 24   NOMH Neuroscience Critical Care, Lab               24
      Results (04/26/15 - 04/24/15)
 25   (Continued), SOrr-OMC-MD-000463 - 000464           25

                                                Page 3                                              Page 5
  1   Exhibit No. 7.......................26              1 REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
      NOMH Neuroscience Critical Care,                      JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
  2   Consult Notes (continued),                          2 ORTHO, L.L.C.:
      SOrr-OMC-MD-000236                                  3    IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
  3                                                            BY: JIMMY IRWIN, ESQ.
                                                          4    400 Poydras Street, Suite 2700
      Exhibit No. 8.......................27                   New Orleans, Louisiana 70130-3280
  4   NOMH Neuroscience Critical Care,                    5    504.310.2106
      Radiology Results (04/25/15 - 05/04/15)                  Jimmy@irwinllc.com
  5   (Continued), SOrr-OMC-MD-000466 - 000467            6
  6   Exhibit No. 9.......................45                   IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
      (Frank Cruz, M.D. medical record),                  7    BY: MEERA U. SOSSAMON, ESQ.
  7   SOrr-FCruz-000103 - 000105                               400 Poydras Street, Suite 2700
  8   Exhibit No. 10......................51              8    New Orleans, Louisiana 70130-3280
      Quest Diagnostics Incorporated,                          504.310.2106
  9   (Collected: 10/28/2014),                            9    Msossamon@irwinllc.com
      SOrr-FCruz-000060                                  10    BARRASSO, USDIN, KUPPERMAN, FREEMAN &
 10                                                            SARVER, L.L.C.
      Exhibit No. 11.......................55            11    BY: RICHARD E. SARVER, ESQ.
 11   Quest Diagnostics Incorporated (record),                 909 Poydras Street, Suite 2400
      SOrr-FBH-000010                                    12    New Orleans, Louisiana 70112
 12                                                            504.589.9700
      Exhibit No. 12.......................85            13    Rsarver@barrassousdin.com
 13   In re Xarelto MDL Litigation, Expert               14    BARRASSO, USDIN, KUPPERMAN, FREEMAN &
      Report of Dr. Sammy Khatib                               SARVER, L.L.C.
 14                                                      15    BY: SHAUN P. McFALL, ESQ.
                                                               909 Poydras Street, 24th Floor
      Exhibit No. 13......................102            16    New Orleans, Louisiana 70112
 15   NOMH Neuroscience Critical Care,                         504.589.9764
      History & Physicals (continued),                   17    Smcfall@barrassousdin.com
 16   SOrr-OMC-MD-000031 - 000034                        18    TUCKER ELLIS, L.L.P.
 17                                                            BY: MICHAEL C. ZELLERS, ESQ.
 18                                                      19    515 South Flower Street, 42nd Floor
 19                                                            Los Angeles, California 90071
 20                                                      20    213.430.3301
 21                                                      21
 22                                                      22 ALSO PRESENT:
 23                                                      23    MELISSA BARDWELL, VIDEOGRAPHER
 24                                                      24
 25                                                      25

 Golkow Technologies, Inc.                                                          Page 2 (2 - 5)
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  1             STIPULATION                                    1       MR. ZELLERS:
  2   It is stipulated by and among Counsel that               2          Michael Zellers for Janssen.
  3 the videotaped deposition of SAMMY KHATIB, M.D.,           3       MR. McFALL:
  4 is being taken under the Federal Rules of Civil            4          Shaun McFall for Janssen.
  5 Procedure for all purposes permitted under the             5       MR. SARVER:
  6 law.                                                       6          Rick Sarver for Janssen.
  7   The formalities of reading and signing are               7       MR. PAINE:
  8 not waived.                                                8          Eric Paine for Bayer.
  9    The formalities of sealing, certification               9       THE VIDEOGRAPHER:
 10 and filing are not hereby waived. The party               10          The court reporter today is
 11 responsible for services of the discovery material        11       Aurora Perrien, and she will now swear in
 12 shall retain the original.                                12       the witness.
 13   All objections, except those as to the                  13       (The court reporter swore in the witness.)
 14 form of the questions and/or the responsiveness of        14           EXAMINATION
 15 the answers, are reserved until the time of the           15 BY MS. JEFFCOTT:
 16 trial of this cause.                                      16    Q. Good morning, Dr. Khatib.
 17               * * * * *                                   17       Would you --
 18         Aurora M. Perrien, Certified Court                18    A. Good morning.
 19 Reporter, Registered Professional Reporter, in and        19    Q. -- mind stating your full name for the
 20 for the State of Louisiana, officiated in                 20 record.
 21 administering the oath to the witness.                    21    A. Sammy Khatib.
 22                                                           22    Q. And we've met before. My name is
 23                                                           23 Emily Jeffcott. I -- I represent the plaintiffs
 24                                                           24 in this matter.
 25                                                           25       I want to take care of a few housekeeping
                                                    Page 7                                                Page 9
  1            PROCEEDINGS                             matters before we get started with questioning.
                                                               1
  2       THE VIDEOGRAPHER:                          2 The first thing I'd like to hand you is a copy of
  3          We are now on the record. My name is 3 your deposition notice that I'm marking as
  4       Melissa Bardwell, videographer here for    4 Exhibit 1.
  5       Golkow Technologies. The date today is     5        (Exhibit No. 1 was marked for
  6       January 21st, 2017. The time is            6        identification and attached hereto.)
  7       approximately 9:02 a.m. This videotaped 7 BY MS. JEFFCOTT:
  8       deposition is being held in New Orleans,   8     Q. Would you mind taking a look at that and
  9       Louisiana, taken in reference to the       9 just letting me know if you've seen that before.
 10       Xarelto (rivaroxaban) Products Liability 10         MS. JEFFCOTT:
 11       Litigation. The deponent today is         11           Do you need a copy?
 12       Sammy Khatib, M.D.                        12        MR. ZELLERS:
 13          Would counsel present please introduce 13           (Shakes head.)
 14       themselves and state their affiliations   14        THE WITNESS:
 15       for the record.                           15           Amended notice.
 16       MS. JEFFCOTT:                             16 BY MS. JEFFCOTT:
 17          Emily Jeffcott for the plaintiffs.     17     Q. And, Doctor, your -- your amended notice
 18       MR. McWILLIAMS:                           18 is -- is really more of the formal document that
 19          Ned McWilliams for the plaintiffs.     19 tells you --
 20       MR. HONNOLD:                              20     A. Oh, okay.
 21          Brad Honnold for the plaintiffs.       21     Q. -- when and where to go. And attached to
 22       MR. IRWIN:                                22 it is -- I believe as Exhibit A is a list of
 23          Jim Irwin for Janssen.                 23 documents that you were asked to bring to the
 24       MR. SOSSAMON:                             24 deposition.
 25          Meera Sossamon for Janssen.            25     A. Yes.

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  1    Q. Does that --                                    1    Q. And do you see any invoices that -- that
  2    A. This, I've seen. Yes.                           2 might be missing from Exhibit 4?
  3    Q. Okay. And what I'm going to mark as             3    A. It's -- I have not created a new invoice
  4 Exhibit 2 is -- is an additional reliance list        4 since then. There are hours that haven't been
  5 that your counsel provided me before the start of     5 done yet. But this -- these are all the
  6 the deposition.                                       6 invoices --
  7       (Exhibit No. 2 was marked for                   7    Q. Okay.
  8       identification and attached hereto.)            8    A. -- that I've submitted.
  9 BY MS. JEFFCOTT:                                      9    Q. All right. And, Doctor, you've been
 10    Q. Would you mind looking at that for me.         10 employed by John Ochsner Heart & Vascular
 11    A. Sure.                                          11 Institute for like the -- the better part of a
 12    Q. Does that look familiar to you?                12 decade; correct?
 13    A. Yes.                                           13    A. Seems like that. I -- I was a fellow from
 14    Q. And then what I'm marking as Exhibit 3 is      14 '03 to '06. I don't know what -- how you would
 15 the additional reliance list that you provided in    15 characterize that employment. I left for 2 years.
 16 your deposition last week.                           16 And I've been on faculty since '08 --
 17       (Exhibit No. 3 was marked for                  17    Q. Okay.
 18       identification and attached hereto.)           18    A. -- May of '08.
 19 BY MS. JEFFCOTT:                                     19    Q. And the Heart & Vascular Institute is --
 20    Q. If you wouldn't mind taking a look at that     20 is separate from Ochsner's Neurosciences
 21 and telling me whether or not that looks familiar    21 Institute?
 22 to you.                                              22    A. We're all employed by the hospital. It's
 23    A. It does.                                       23 a different service line.
 24    Q. Okay. And those are additional materials       24    Q. Okay. Is really more the -- the focus of
 25 that you reviewed after you issued your generic      25 the Heart & Vascular Institute cardiovascular

                                              Page 11                                                Page 13
  1 report in this matter; is that correct?               1 medicine? Is that --
  2    A. I don't remember the timing of the review       2    A. Absolutely.
  3 of the depositions. I know I had reviewed the FDA     3    Q. Okay. And -- and patients that come to
  4 reanalysis at the time of the report and there was    4 see you are primarily having heart issues?
  5 an omission not to have it on the original one.       5    A. Correct. They have, in the purview of all
  6 So I -- I don't remember which ones were -- were      6 of their medical issues. But our focus and
  7 done before that or after.                            7 concentration is on their cardiovascular issues.
  8    Q. Okay. And it's just fair to say that            8 Yes.
  9 those items listed on either Exhibit 2 or 3 are --    9    Q. And Ochsner's Neurosciences Institute
 10 are items that weren't included in your reference    10 covers patients having more issues with the
 11 list?                                                11 nervous systems, such as stroke?
 12    A. Initial -- yes.                                12    A. Absolutely.
 13    Q. Okay.                                          13    Q. Okay.
 14    A. Yes.                                           14    A. We work in conjunction a lot with the
 15    Q. And then what I'd like to mark as              15 neuroscience -- the neurologists and the
 16 Exhibit 4 and just so I don't forget about it is     16 neurosurgeons when it comes to the strokes. But
 17 the list of invoices that your counsel provided to   17 that's in their purview. Yes.
 18 me.                                                  18    Q. And that's where I was getting at.
 19       (Exhibit No. 4 was marked for                  19       I imagine there's some amount of overlap
 20       identification and attached hereto.)           20 between the Heart & Vascular Institute and the
 21 BY MS. JEFFCOTT:                                     21 Neuroscience Institute as it comes to patients?
 22    Q. Would you mind just flipping through those     22    A. There's some.
 23 briefly and -- and letting me know if those look     23    Q. And -- and -- and you see patients who
 24 familiar to you?                                     24 have suffered strokes?
 25    A. They do.                                       25    A. Yes.

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  1    Q. But you would see those patients in terms      1   Q. And that would be to provide a consult?
  2 of their cardiovascular issues as opposed to        2    A. Yeah.
  3 issues specific to neurological impairment?         3    Q. Okay. And then it -- since you've been --
  4    A. I don't see them for issues relative to       4 I guess for the better part of the last decade,
  5 their neurologic impairment. That's correct.        5 about how many patients have you -- have you seen
  6 Their cardiovascular issues include stroke. But I   6 that have had a hemorrhagic stroke?
  7 am not involved in the sequelae of -- or the        7    A. Hard to quantify. I would put it at -- in
  8 management of the sequelae of the stroke.           8 the last year?
  9    Q. Okay. And so in that vein, it's not part      9    Q. Sure.
 10 of your normal practice to diagnose patients who 10      A. Less than five.
 11 are having strokes?                                11    Q. Okay. And in the last five years,
 12    A. I'm not in the emergency room diagnosing     12 ballpark?
 13 strokes. That goes back to internal medicine. So 13      A. Less than 30.
 14 no. I'm -- it is not part of my practice to -- it  14    Q. And those patients that you've seen, those
 15 -- it happens rarely, but no.                      15 -- those few patients that you've seen that have
 16    Q. And in terms of when it rarely happens,      16 had a hemorrhagic stroke, were you treating them
 17 can you explain the -- the kind of situation where 17 for an arrhythmia issue?
 18 it would occur?                                    18    A. The majority of time it's been management
 19    A. If someone is in the hospital for another    19 of arrhythmia issues. However, I also round on
 20 cardiovascular problem and they are having signs 20 the cardiovascular service independent of the
 21 of a stroke or whatnot. And the answer would --    21 arrhythmia issues service. And so some of that
 22 we would activate the stroke team. So it's not a   22 has been in the -- that context as well.
 23 -- or get a CAT scan. If someone -- if I've done   23    Q. Okay. And in -- in that kind of context,
 24 a procedure -- I -- you know, I do a lot of a-fib  24 what -- what treatment do you provide?
 25 ablations. And if someone is having complaints     25    A. If they're in heart failure, we'll manage
                                             Page 15                                                 Page 17
  1 afterwards, I will do the assessment and get the     1 their heart failure. Hypertension, we will assist
  2 relevant imaging in those patients.                  2 in the management of their hypertension. Are --
  3    Q. And -- and about how often does that occur     3 we're talking about the cardiovascular, not the
  4 say in a -- in a given year?                         4 arrhythmia? If they're having a heart attack,
  5    A. Not often.                                     5 managing the -- the MI.
  6    Q. Well --                                        6    Q. And -- and so in -- in the patients that
  7    A. Yeah. I -- you want a number. Less than        7 you've seen with hemorrhagic strokes, were you
  8 ten.                                                 8 involved in the diagnosis of the actual
  9    Q. Okay. And -- and -- and you had mentioned      9 hemorrhagic stroke?
 10 the emergency room.                                 10    A. Have I ever diagnosed? I've -- I've
 11       Do you -- do you do rounds in the             11 diagnosed ischemic strokes. Nope.
 12 emergency room?                                     12    Q. Now in terms of treating a patient for a
 13    A. I -- I get called down to the emergency       13 cardi -- cardiovascular issue, you had mentioned
 14 room. I don't do rounds. We don't have a lot of     14 that if -- in the course of treatment you
 15 patients down there. But when one of my patients    15 recognize that's -- a patient's having a stroke or
 16 shows up or I'm on consult service and there's a    16 what have you, you'll -- you'll initiate the CT
 17 patient with an arrhythmia issue, I will go down    17 scan --
 18 there.                                              18    A. Uh-huh.
 19    Q. And just to ask a little bit different        19    Q. -- what have you?
 20 here: Are you ever on call for Ochsner's            20       Is it fair to say that as a normal part of
 21 emergency room?                                     21 your clinical practice you don't order CT scans of
 22    A. I -- I'm not an emergency room physician,     22 -- of -- of a patient's brain?
 23 so I don't work in the emergency room. But I take   23    A. I don't know what "normal" means. It's
 24 call for patients from the emergency room that      24 not outside the spectrum of what I do. It's not a
 25 have EP, arrhythmia issues.                         25 common occurrence, if that's --


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  1    Q. It's a routine?                                 1  Q.  And  --
  2    A. It's routine if they're reporting symptoms    2    A. I think so. That --
  3 after a procedure or whether or not they're having  3    Q. Do you remember how many CT scans she had?
  4 a procedure. So I order them, but I wouldn't say    4    A. I would -- I would -- I would say they
  5 that that's -- if you're looking for volume,        5 were daily while she was there.
  6 that's not high in terms of -- in terms of the      6    Q. I'm going to mark as Exhibit 5 a copy of
  7 tests that I order, that would be a lower volume    7 your report in the matter of Sharyn Orr.
  8 number.                                             8       (Exhibit No. 5 was marked for
  9    Q. Okay. So in -- in terms of the -- the         9       identification and attached hereto.)
 10 past year, how often have you ordered --           10 BY MS. JEFFCOTT:
 11    A. The CAT scan?                                11    Q. And, Doctor --
 12    Q. -- a CAT scan or MRI for some sort of        12    A. Thank you.
 13 brain imaging.                                     13    Q. -- would -- would you mind flipping
 14    A. I've done -- now we're including MRI.        14 through  that and letting me know whether that's a
 15 Okay. For 2016 -- and again, I -- I'm just         15 accurate copy of your report?
 16 pulling numbers. I would put it below 10.          16    A. Yes, ma'am.
 17    Q. And if we were just looking at CT scans      17    Q. All right. And if you wouldn't mind --
 18 that you've ordered in 2016, what would your       18       THE VIDEOGRAPHER:
 19 ballpark . . .                                     19         (Indicating.)
 20    A. That I specifically ordered, not that was    20 BY MS. JEFFCOTT:
 21 ordered by somebody else, probably two or three. 21      Q. -- going to the section entitled
 22 You know, that's a very specific number, and I     22 "Development of Intracerebral Hemorrhage and
 23 reserve . . . But a few, I would say.              23 Death." Their -- the pages in your report aren't
 24    Q. Okay.                                        24 marked.
 25    A. Not many.                                    25    A. Sorry about that.

                                               Page 19                                                  Page 21
  1    Q. And so is it fair to -- for me to say that      1    Q. So it's -- if you count to Page 11, you'll
  2 images of a -- of a patient's brain are not           2 get there.
  3 necessary for assessing a patient's cardiac           3    A. It's near the end --
  4 function?                                             4    Q. It's --
  5    A. That's a fair statement.                        5    A. -- or no?
  6    Q. And would you agree that images of a            6    Q. It's about -- in terms of your report
  7 patient's brain, whether from a CT scan or an MRI,    7 report and not the appendices, it's about halfway
  8 is -- is important to determine the location and      8 through.
  9 source of a -- of a brain bleed?                      9    A. Got it.
 10    A. Yes, ma'am.                                    10    Q. Okay.
 11    Q. And in the case of Mrs. Orr, did you           11    A. Okay.
 12 review her CT scans?                                 12    Q. So under the section titled "Development
 13    A. No, ma'am.                                     13 of Intracerebral Hemorrhage and Death," you
 14    Q. Did --                                         14 describe the events leading up to Mrs. Orr's
 15    A. I reviewed the reports.                        15 transfer from Ochsner Baptist to Ochsner Main
 16    Q. That was my next question.                     16 Campus; correct?
 17    A. That -- yes.                                   17    A. Yes, ma'am.
 18    Q. And so did you review the reports of all       18    Q. And in Paragraph 3, you state, "A stat CT
 19 of her CT scans?                                     19 scan of the head was obtained, and this revealed a
 20    A. I hope so. I reviewed the records at           20 large intracerebral hemorrhage."
 21 length. And I remember reviewing the sequence of     21      Did I read that correctly?
 22 events, the -- the CAT scan -- the initial CAT       22    A. Yes, ma'am.
 23 scan, the follow-up CAT scan, what happened after    23    Q. And this CT scan was taken at Ochsner
 24 the EV -- EV drains were placed. But I don't --      24 Baptist; correct?
 25 to say all, I'm not --                               25    A. I believe so.

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  1     Q. And do you recall about what time that was     1      MR. IRWIN:
  2 taken?                                                2        Object to the form.
  3     A. Not off the top of my head.                    3      THE WITNESS:
  4     Q. Now --                                         4        I -- I'm happy to look at the -- the
  5     A. I -- I want to say 11:00 p.m., around that     5      report.
  6 time, but I -- I don't remember specifics.            6 BY MS. JEFFCOTT:
  7     Q. I think that's about right.                    7   Q. I have marked this as . . . And, Doctor,
  8        And in -- in terms of an intracerebral         8 what I'm marking as Exhibit 6 is a copy of
  9 hemorrhage, can you please describe to the jury       9 Mrs. Orr's first and second CT scans.
 10 the difference between an intracerebral hemorrhage   10      (Exhibit No. 6 was marked for
 11 and a intraventricular hemorrhage.                   11      identification and attached hereto.)
 12     A. Intracerebral would be within the brain       12      MS. JEFFCOTT:
 13 matter of the parenchyma itself. Intraventricular    13        (Tenders document.)
 14 would be within the cavities surrounding the brain   14      MR. IRWIN:
 15 parenchyma.                                          15        Thank you.
 16     Q. And it -- and to throw in another term,       16      MS. JEFFCOTT:
 17 it's intracranial hemorrhage. So an intracranial     17        That copy goes to him. I don't . . .
 18 hemorrhage is a hemorrhage within the -- the vault   18      THE WITNESS:
 19 of the cranium; right? And so would that include     19        Got it. I see the highlight as --
 20 an intercerebral and an intraventricular             20      MS. JEFFCOTT:
 21 hemorrhage?                                          21        Yeah.
 22     A. Yes, ma'am.                                   22      THE WITNESS:
 23     Q. Okay. And if you go back to your report       23        -- well and --
 24 and the statement that I read earlier that says      24 BY MS. JEFFCOTT:
 25 that the CT scan revealed a large intracerebral      25   Q. So that's --
                                              Page 23                                                Page 25
  1 hemorrhage, what's your basis --                      1    A. -- the impression in -- in the body
  2    A. For not --                                      2 saying, "No definite parenchymal hemorrhage."
  3    Q. -- for that statement?                          3    Q. All right. And so -- and according to
  4    A. -- calling it intracranial?                     4 Dr. Ogden, it was his opinion that Mrs. Orr's
  5    Q. Or -- or -- intracranial or                     5 brain bleed was likely a primary intraventricular
  6 intraventricular.                                     6 bleed; is that correct?
  7    A. This would have been from the records.          7      MR. SARVER:
  8 This would have been an interpretation of -- my       8         Objection.
  9 interpretation of the CAT scans, because again, I     9      THE WITNESS:
 10 didn't specifically review the CAT scan.             10         According to the report as -- as
 11    Q. And so do you recall which records support     11      written here, yes. I -- I think sometimes
 12 your statement that she suffered a large             12      the neurologists and neurosurgeons have a
 13 intracerebral hemorrhage?                            13      different assessment on it. But on -- on
 14    A. Not off the top of my head.                    14      this one, yes.
 15    Q. Okay. And -- and do you recall reviewing       15 BY MS. JEFFCOTT:
 16 the radiologist's report for the specific CT scan,   16    Q. And, I mean, do you think Dr. Ogden got it
 17 Mrs. Orr's first CT scan?                            17 wrong?
 18    A. I -- I recall reading it. Do I recall the      18    A. No. I would not dream to think -- again,
 19 specific wording off the top of my head? No. But     19 I wouldn't interpret the study myself, so I have
 20 I have a feeling you have a report.                  20 no basis to say he got it wrong.
 21    Q. Well, Mrs. Orr's first CT scan was             21    Q. Okay.
 22 reviewed by a doctor, Dr. Ogden. And it was his      22    A. I know that sometimes a radiologist will
 23 interpretation that Mrs. Orr's hemorrhage was        23 read it. And often I will ask the neurologist or
 24 likely a primary intraventricular hemorrhage.        24 the neurosurgeon because they're -- if -- if -- I
 25      Does that sound familiar?                       25 don't know if Dr. Ogden's a neuroradiologist or a


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  1 general radiologist. But if he's a general            exclusive
                                                           1         to the ventricular space?
  2 radiologist, I would put more into the thoughts of  2      MR. IRWIN:
  3 a neurosurgeon or a neurologist in that regard.     3         Object to the form. You may --
  4    Q. And -- well, then I'd like to show you        4      THE WITNESS:
  5 what I'm marking as Exhibit No. 7, which is a       5         I think --
  6 consult note from -- what is the name on here --    6      MR. IRWIN:
  7 from a vascular -- the vascular neurology.          7         -- answer the question.
  8       (Exhibit No. 7 was marked for                 8      THE WITNESS:
  9       identification and attached hereto.)          9         -- he agrees definitely that it's
 10       THE WITNESS:                                 10      predominantly. The -- the modifier of
 11         It's Gropen. I see. Yep. I see that        11      "if," I wouldn't use that as a definitive.
 12       he's -- he's calling it intraventricular     12      So I would say his thought is
 13       hemorrhage.                                  13      predominantly intraventricular.
 14 BY MS. JEFFCOTT:                                   14 BY MS. JEFFCOTT:
 15    Q. And, Doctor, if you wouldn't mind reading 15 Q. And -- and, Doctor, how do you explain the
 16 for me -- under History Of Present Illness, do you 16 discrepancy between those who treated Mrs. Orr and
 17 see that? The second -- or third sentence          17 believed to be -- believed her intracranial
 18 starting with, "CT . . ."                          18 hemorrhage to be of a ventricular source and your
 19    A. "CT" of the "head showed" a "large" right    19 opinion that her bleed --
 20 "IVH with likely intraventricular source extending 20    A. I think in more --
 21 into 3rd ventricle with" one-and-a-half centimeter 21    Q. Let me finish my question.
 22 "midline shift."                                   22    A. I'm sorry.
 23    Q. And so, Doctor, would you agree with me      23    Q. -- her -- her -- her bleed originated from
 24 that the vascular neurologist believed Mrs. Orr's  24 an intracerebral hemorrhage?
 25 bleed to be likely of an intraventricular source?  25      MR. IRWIN:
                                                Page 27                                                  Page 29
  1    A. I think that was his impression when he          1         Object to the form. You may answer
  2 was writing this. Yes.                                 2      the question.
  3    Q. Doctor, I'm going to mark as Exhibit 8 the       3      THE WITNESS:
  4 fourth CT scan report taken of Mrs. Orr.               4         I -- I think a better term would have
  5       (Exhibit No. 8 was marked for                    5      been "intracranial" than "intracerebral."
  6       identification and attached hereto.)             6 BY MS. JEFFCOTT:
  7       THE WITNESS:                                     7    Q. And so you would agree that at least the
  8         Yes, ma'am.                                    8 records are not clear as to whether Mrs. Orr had
  9 BY MS. JEFFCOTT:                                       9 an intracerebral hemorrhage versus an
 10    Q. Would you mind reading the highlighted          10 intraventricular hemorrhage?
 11 portion?                                              11    A. Would I agree that the records are not
 12    A. Can -- can I read the rest first?               12 clear?
 13    Q. Absolutely. Take --                             13      MR. McWILLIAMS:
 14    A. Is that okay?                                   14         Intracranial.
 15    Q. -- all the time you need.                       15 BY MS. JEFFCOTT:
 16    A. This was done on the 27th. Okay.                16    Q. Oh, that's -- sorry.
 17       "A recent acute intracranial hemorrhage is      17    A. You want to rephrase it?
 18 again observed which is predominantly, if not         18    Q. Let me rephrase it.
 19 exclusively, intraventricular in position, with a     19      So --
 20 large amount of acute blood density seen within       20      THE WITNESS:
 21 the right lateral ventricle."                         21         I thought you weren't talking. I'm
 22    Q. Thank you, Doctor.                              22      sorry.
 23       So would you agree that according to the        23      MR. McWILLIAMS:
 24 radiologist who interpreted Mrs. Orr's fourth CT      24         I get ahead of --
 25 scan, that he believed Mrs. Orr's hemorrhage to be    25      THE WITNESS:

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   1         Go ahead.                                        1       MR. IRWIN:
   2       MR. McWILLIAMS:                                    2          Object to the form.
   3         -- myself sometimes.                             3       THE WITNESS:
   4       THE WITNESS:                                       4          It is definitely partially metabolized
   5         Go ahead.                                        5       by the liver. Whether it's been tested in
   6       MS. JEFFCOTT:                                      6       patients with severe disease, I don't know
   7         I'll rephrase it.                                7       the specific answer to that. I know those
   8       THE WITNESS:                                       8       patients were specifically excluded in
   9         Yes, ma'am.                                      9       ROCKET. But I can't tell you off the top
  10 BY MS. JEFFCOTT:                                        10       of my head pharmacokinetic or
  11    Q. So you -- you can't say with a reasonable         11       pharmacodynamic data or modeling that was
  12 degree of medical certainty that Mrs. Orr suffered      12       done --
  13 a intracerebral hemorrhage?                             13 BY MS. JEFFCOTT:
  14    A. I agreed with that. Yes. I think again,           14    Q. And -- but -- but like you --
  15 after reviewing the depositions and whatnot, a          15    A. -- in patients with severe liver disease.
  16 more appropriate term would have been                   16    Q. But like you said, it wasn't tested --
  17 "intracranial" and leaving it there.                    17 patients with severe liver -- severe liver disease
  18    Q. Now, in reviewing Mrs. Orr's records, did         18 was -- were not tested in ROCKET?
  19 you see any issues with her liver function?             19    A. In ROCKET, they were excluded.
  20    A. And I'm going to get the two mixed up.            20    Q. Okay. And you would agree that it's
  21 Because I know we have two cases today. Let me go       21 important to test a drug that's going to be used
  22 back a little bit.                                      22 for a particular purpose in appropriate patient
  23       Can I review my report just for a moment?         23 populations before that drug is prescribed to
  24 Because there's --                                      24 patients in -- in those -- those patient
  25       MR. IRWIN:                                        25 populations?

                                                  Page 31                                                 Page 33
   1          Yes.                                            1  MR. IRWIN:
   2      THE WITNESS:                                   2         Object to the form.
   3          -- something a little . . .                3       THE WITNESS:
   4      MS. JEFFCOTT:                                  4         I -- one more time. Sorry.
   5          Yeah.                                      5 BY MS. JEFFCOTT:
   6      MR. IRWIN:                                     6    Q. So you agree that it's important for --
   7          You can. Any time. Yes.                    7 for a drug that's going to be used for a
   8      THE WITNESS:                                   8 particular purpose to be tested in appropriate
   9          I want to remember her initial             9 patient populations --
  10      assessment. No. Okay. I'm sorry. No.          10    A. It --
  11 BY MS. JEFFCOTT:                                   11    Q. -- correct?
  12    Q. All right. And so from what you recall,      12    A. -- should be tested in -- in patient
  13 she was -- Mrs. Orr was never diagnosed with       13 populations that are going to be utilized in.
  14 severe liver disease?                              14 Yes.
  15    A. Yes. You are correct.                        15    Q. And -- and that testing should occur
  16    Q. Okay. And -- and you would agree that had 16 before it's actually prescribed to those patient
  17 she been diagnosed with severe liver disease, that 17 populations. Is that fair?
  18 would have been concerning in terms of her usage 18      A. I guess I would say the -- the reverse. I
  19 of Xarelto --                                      19 wouldn't prescribe -- prescribe a medication if it
  20    A. Yes, ma'am.                                  20 hadn't been tested --
  21    Q. -- correct?                                  21    Q. And that's what --
  22      And -- and -- and that's because Xarelto      22    A. -- in that regard.
  23 is partially processed by the liver and Xarelto    23    Q. And I believe -- if I recall your
  24 has never been tested in patients with severe      24 deposition correctly -- deposition testy [sic]
  25 hepatic impairment. Is that fair?                  25 correctly, you wouldn't prescribe Xarelto to


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   1 patients having a creatinine clearance of less      1failure and then back up to 30 right before they
   2 than 30 because those patients were excluded from 2 leave, I'm comfortable with that in that regard.
   3 ROCKET --                                          3    Q. But --
   4     A. Well --                                     4    A. I wouldn't serially withdraw blood for
   5     Q. -- correct?                                 5 that.
   6     A. So that's a stable creatinine clearance.    6    Q. Okay. And so say if a patient came in and
   7 So there are times -- and -- and I have done this  7 had multiple creatinine clearance -- so over --
   8 in my practice. If they dip below a creatinine     8 scratch that. Let's start over.
   9 clearance of less than 30 for acute reasons --     9       So over a course of a period of time, a
  10 they come in -- and we were talking about         10 patient comes in after multiple successive lab
  11 diuretics causing renal failure. And that gets    11 work, creatinine is below 25 on multiple
  12 adjusted and it comes back above. I wouldn't      12 occasions with --
  13 discontinue the utilization of Xarelto in that    13    A. During the acute event?
  14 regard.                                           14    Q. Following the acute event.
  15     Q. So in -- in terms of making that           15    A. How far following? Is -- so I -- you
  16 evaluation, how do you determine whether or not   16 know, again if it's -- they come in and throughout
  17 it's just a temporary dip of a patient's          17 their hospital stay it's staying low and then the
  18 creatinine clearance or whether it is a sign of,  18 day of hospital stay it's back up to 30, I'd be
  19 you know, declining renal function?               19 okay with that.
  20     A. Looking at patterns and looking at the     20    Q. Okay.
  21 clinical scenario. So if someone has a creatinine 21    A. If they left with a creatinine clearance
  22 clearance that historically has been in the 40s   22 of 20, I would be reluctant in that regard to
  23 and then they come in with an acute event that is 23 start it back up until I saw, again, a number come
  24 known to cause acute renal insufficiency and it's 24 back up. Once I saw -- if a number came back up,
  25 25, I wouldn't consider that someone whose        25 I would feel comfortable with resumption.

                                               Page 35                                               Page 37
   1 creatinine clearance is generally under 30 and I    1    Q. And are you familiar with in ROCKET
   2 would wait to see how the acute event is managed 2 whether or not patients were excluded whose
   3 and see the -- the pattern. Sometimes an acute      3 creatinine clearances fell below 30?
   4 event can result in a new level of chronic events,  4    A. I -- it is my impression -- so this is
   5 and so I'd want to see the creatinine clearance     5 going to be my impression, not -- I can't say this
   6 improve back to baseline.                           6 with absolute certainty. But if it dipped and it
   7    Q. Right. And so in terms of seeing, you         7 came back up, the patients were continued. That's
   8 would -- you would do multiple creatinine tests     8 my recollection, but I can't -- I can't speak to
   9 over a duration of time?                            9 that definitively.
  10    A. I don't know how often -- I guess it would   10    Q. Okay.
  11 -- it depends on the -- my comfort level, the      11    A. That was my impression.
  12 number of creatinine clearances I had done before 12     Q. And if -- if -- in -- in ROCKET, where
  13 and the comfort level that what had happened was 13 patients were -- had two successive creatinine
  14 related to an acute event. And so --               14 clearances of below 25, they were -- they were
  15    Q. Well --                                      15 permanently excluded from the study. Does that
  16    A. -- I would follow up, but I wouldn't         16 sound familiar?
  17 necessarily then continue -- serially check it.    17    A. It -- yes. It does sound familiar. Yeah.
  18        Does that make sense?                       18    Q. Now, in general, if a patient came to
  19    Q. Right. But to assess whether or not the      19 you --
  20 patient goes back to baseline, you would have to   20    A. And -- and let me -- can I just follow up?
  21 do a subsequent creatinine clearance test?         21      I wouldn't -- with two successive numbers
  22    A. If -- yeah. So I would want to see the       22 below and then come back up, I would continue the
  23 creatinine clearance go back above 30. And then 23 rivaroxaban in my -- in my practice. And -- and
  24 once I did, I -- again, if -- if 40 or 35, all of  24 the reason is is because I think what they're --
  25 sudden 20 because they come in with acute renal    25 and they should in a study be more rigorous and


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   1 more -- and err on the side of caution. But I       1   Q. And you -- and you mention that if -- if a
   2 think what really was evaluated was a chronic      2 patient has a creatinine clearance of consistently
   3 creatinine clearance above 30, from 30 to 50 with  3 below 30 for say three months and then, you know,
   4 a dose adjustment. And I -- I feel comfortable --  4 hovers back a little above 30 you would not be
   5 if there's an acute situation and then it goes     5 comfortable putting them back on Xarelto. Did I
   6 back up, I would not discontinue that on the --    6 understand you correctly?
   7 for the long-term.                                 7    A. I'd wait for more data.
   8    Q. So you're -- you're talking about an acute   8    Q. Okay.
   9 situation. What do you mean by that?               9    A. I wouldn't go based on one number. I'd --
  10    A. Someone comes in with sepsis or heart       10    Q. And --
  11 failure and their renal insufficiency acutely     11    A. -- want to see serial that are remaining
  12 worsens.                                          12 above 30. Began -- again, you -- you never --
  13    Q. And I think you mentioned before if -- if   13 because there's some variation in -- in -- you
  14 they -- if the patient after an acute experience  14 know, you draw your creatinine clearance on three
  15 in a hospital, if at some point -- whenever they  15 different days. You're going to have some
  16 returned to baseline, you're comfortable --       16 variation in the levels. And so if we're talking
  17    A. I -- I am -- am I? Correct.                 17 20 versus 30, I wouldn't get overly excited about
  18    Q. -- having them on Xarelto?                  18 one. I'd like -- I like to see trends.
  19       What -- what's that time frame, where       19      So for me, again, if their trend's here
  20 the -- the patient needs to be able to return to  20 and then they dip and then they're back, I'm
  21 baseline?                                         21 comfortable. If they dip and they're staying
  22    A. I don't have a time frame in general.       22 down, I'm not going to be comfortable with one.
  23 Yeah. I don't have a -- it's -- there is no time  23 I'm going to want to see a couple.
  24 frame.                                            24    Q. Right. Because that -- that one could be
  25       But generally, if it's going to be          25 the outlier?
                                              Page 39                                               Page 41
   1 recover, it's not going to be months. And so        1   A. Yes.
   2 again, if it comes back up, I'll go back. If it's  2    Q. Okay. And -- and for a patient that you
   3 been three months that they've been 20s and then   3 decide needs to come off Xarelto because their
   4 they get a number that's 31, I'm not going to      4 creatinine clearance is dipped, what -- what's the
   5 start it back up just because one. That -- then    5 normal course of treatment in terms of anti- --
   6 that becomes an outlier. I'd want to see           6 anticoagulation?
   7 follow-up.                                         7    A. Warfarin.
   8       So it's not months, but I don't have --      8    Q. And for any patients that are -- have a
   9 you know, I can't tell you days, weeks.            9 creatinine clearance below 30, do you consider any
  10    Q. But just -- because I think you mentioned 10 of the other DOACs besides Xarelto?
  11 that it -- the -- the creatinine clearance would  11    A. You know, with the apixaban they have that
  12 come up to baseline relatively quickly. Is        12 -- the two out of three criteria. And so I will
  13 that --                                           13 consider it in those situations. I know that
  14    A. I don't know --                             14 there's the Eliquis -- the -- the people will
  15    Q. -- fair?                                    15 have -- said that you can use it in patients with
  16    A. It -- no. It depends on the insult.         16 end-stage renal disease. I'm not -- I don't do
  17    Q. Okay.                                       17 that. So I'll -- I'll look occasionally. But
  18    A. And -- and this is more a nephrology        18 generally, I'll -- I'll switch to warfarin.
  19 question than a cardiovascular question. So I     19    Q. And the reason that you wouldn't prescribe
  20 can't tell you a time frame. But my clinical      20 the Eliquis is because, the same as with Xarelto,
  21 experience is it can be weeks sometime --         21 it hasn't been tested with patients of a -- of a
  22    Q. Okay.                                       22 creatinine clearance lower than 30. Is that --
  23    A. -- usually days. But again, it depends on 23 A. Yeah. I will --
  24 the insult and whether there's been a hit to the  24    Q. Is that --
  25 kidney ATN. But it -- so it can take longer.      25    A. -- stick to what was used in ARISTOTLE.

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   1    Q. All right. And -- and I recall that in          1 of 30. That's where I come up with the -- the
   2 your deposition from last Saturday you were           2 moderate kidney dysfunction. Again, I think she
   3 talking in terms of GFR --                            3 had occasions when she came in the hospital where
   4    A. Okay.                                           4 she would briefly dip. I also know that when she
   5    Q. -- a patient's GFR.                             5 ultimately came in with her bleed her creatinine
   6       So how does that -- how does creatinine         6 clearance was just north of 30.
   7 clearance translate to GFR in your practice?          7    Q. Would you mind explaining to me the
   8    A. So much more for a nephrologist than me.        8 difference between Stage 3A and 3B chronic kidney
   9 For me, I use them interchangeably.                   9 disease?
  10    Q. And so is it fair to say that a GFR score      10    A. I -- I -- you know, I look that up to --
  11 of lower than -- of less than 30 would be            11 to give a specific -- I don't know -- I can't tell
  12 indicative to you of severe kidney disease?          12 you specifically off the top of my head.
  13    A. So I don't know the specifics in terms of      13    Q. And --
  14 severe. I've seen a creatinine clearance of less     14    A. I know that Stage 3 in general is
  15 than 30 used. And again, there's some variations     15 moderate, as you mentioned, and historically I've
  16 between creatinine clearance and -- and GFR, and I   16 used a creatinine clearance of 30. But I -- I
  17 think race is a big one. So I don't -- and I -- I    17 can't tell you off the top of my head A versus B.
  18 -- our hospital will calculate that for us, that     18 I was just trying to be accurate in terms of what
  19 difference. And so I don't know off the top of my    19 I was doing.
  20 head what would characterize severe for a GFR.       20    Q. So in terms of the -- the six months
  21    Q. But if you had a patient that had a GFR of     21 before Mrs. -- Mrs. Orr's brain bleed, do you
  22 less than 30, say, you know, multiple times over     22 recall how many creatinine clearances or -- or G
  23 three months, you would place that patient on --     23 -- GFRs you reviewed?
  24 on warfarin --                                       24    A. Can I recall how many I reviewed? No.
  25    A. Warfarin.                                      25    Q. Can you call -- recall about how many --
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   1    Q. -- as opposed to Xarelto.                       1    A. How many --
   2    A. If --                                           2    Q. -- there were?
   3    Q. Is that fair?                                   3    A. -- were done? I know she -- no. I have
   4    A. I would use that. Yes.                          4 no -- I have no number or gestalt off the top of
   5    Q. And in terms of a GFR from 15 to 29,            5 my head. I know it came back up. I remember it
   6 that's considered to be Stage 4 severe kidney         6 coming below, then I remember it coming back up.
   7 disease. Does that sound familiar?                    7 I -- I remember paying attention to where that
   8    A. Sounds familiar.                                8 was, because that's an important part. I -- I --
   9    Q. With Stage 5 being less than 15 and being       9 I think it is an important part to discuss.
  10 somebody that needs dialysis or/either a kidney      10    Q. Right. And so do you recall reviewing the
  11 transplant. Does that sound familiar?                11 records of -- of Dr. Cruz, Mrs. Orr's
  12    A. Sounds familiar, but I'm not going to          12 nephrologist?
  13 validate that.                                       13    A. I don't recall the specifics off the top
  14    Q. Well -- and the reason I ask is because        14 of my head of who I reviewed and not reviewed. I
  15 you state in your report that Mrs. Orr had           15 -- I know she was seen by a nephrologist and their
  16 moderate kidney function at Stage 3B.                16 thoughts were she had moderate kidney disease, if
  17    A. Uh-huh.                                        17 I recall correctly, likely related to her
  18    Q. Now, what was your --                          18 diabetes. I don't know -- I'm surprised that
  19    A. I'm sorry. Yes.                                19 hypertension would not also have contributed. But
  20    Q. What was your basis for that?                  20 if I recall correctly, he had said -- he had made
  21    A. My impression of reading her creatinine        21 those statements.
  22 clearances and reviewing them all, including the     22    Q. And I -- and I want to mark as
  23 acute hospitalizations and where it was, I -- I      23 Exhibit 9 -- they're -- Exhibit 9, they're records
  24 would have continued with the Xarelto at the 15.     24 from Dr. Cruz, Mrs. Orr's nephrologist.
  25 Because I put her creatinine clearance just north    25        (Exhibit No. 9 was marked for

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   1      identification and attached hereto.)          Dr. Cruz of Mrs. Orr; correct?
                                                         1
   2      THE WITNESS:                                2    A. Yes, ma'am.
   3        Oh, God. We've got to read                3    Q. Now, if you go down to the part that I've
   4      handwriting?                                4 had -- I've highlighted, would you mind reading
   5      MS. JEFFCOTT:                               5 that handwriting for me, if you can.
   6        I know. I'm sorry.                        6    A. I -- C -- I'm assuming that's a K, not an
   7      THE WITNESS:                                7 H. I will take that assumption. "CKD Stage 4."
   8        Okay.                                     8    Q. And -- And, Doctor, if you would turn to
   9      MR. IRWIN:                                  9 the next page.
  10        You've got --                            10    A. I don't have a next page.
  11      MS. JEFFCOTT:                              11    Q. Oh. The -- I guess the --
  12        Jim -- yeah. You see that.               12    A. The prior?
  13      THE WITNESS:                               13    Q. -- prior page. Thank you.
  14        I have one.                              14    A. CKD -- sorry.
  15      MS. JEFFCOTT:                              15    Q. And -- and would you mind reading the --
  16        Okay.                                    16 the -- the date in the upper right-hand corner.
  17      THE WITNESS:                               17    A. 11/6/14.
  18        Yes, ma'am.                              18    Q. And this is also a record by Dr. Cruz of
  19 BY MS. JEFFCOTT:                                19 -- of -- of Mrs. Orr?
  20    Q. Perfect. So if you -- if you take a look 20 A. Yes, ma'am.
  21 at Exhibit 9 -- and I -- I've highlighted --    21    Q. And would you mind reading the highlighted
  22    A. Stage -- chronic kidney disease, Stage 4. 22 portion for me.
  23      MS. JEFFCOTT:                              23    A. "CKD Stage 4."
  24        Jim, could I trade copies with you?      24    Q. Now, if you would turn to the prior page,
  25      MR. IRWIN:                                 25 the . . . Would you mind reading the date in the
                                              Page 47                                               Page 49
   1         Sure.                                       1upper right-hand corner.
   2       MS. JEFFCOTT:                                2    A. March 5th, 2015.
   3         Thank you.                                 3    Q. And then the highlighted portion.
   4       MR. IRWIN:                                   4    A. "C" -- I'm -- "KD Stage 4."
   5         I don't get my own highlighting on it?     5    Q. And -- and, Doctor, in terms of GFR,
   6       MS. JEFFCOTT:                                6 creatinine  clearance, what does chronic kidney
   7         Sorry about that.                          7 disease Stage 4 typically mean?
   8       MR. IRWIN:                                   8    A. Again, I'm not a nephrologist, so I don't
   9         Oh, boy.                                   9 -- I'm -- I'm constantly trying to click --
  10 BY MS. JEFFCOTT:                                  10 because I'm asked in Epic to put CKD3, 4, 5. And
  11    Q. If you take a look.                         11 I generally follow what's already been in there.
  12    A. Okay.                                       12 So I don't -- I -- I can't tell you off the top of
  13    Q. Doctor, would you start by reading the 13 my head. I know Stage 3 is moderate. Stage 5,
  14 date. It's in the upper -- well, actually let's   14 severe or end stage. I don't know the
  15 go to the last page because they're -- they're -- 15 nomenclature that would be used for 4.
  16 I put them in order by Bates number, but that     16    Q. And -- and so Stage 4 is considered severe
  17 means that the --                                 17 renal disease. Does --
  18    A. I remember seeing -- so to -- to go back 18 A. Okay.
  19 to your question, I do -- this refreshes seeing   19    Q. Does that sound familiar?
  20 something from Dr. Cruz. Yes.                     20    A. I'm --
  21    Q. And so if you're looking at the last page, 21        MR. IRWIN:
  22 would you mind reading off the date of that       22          Object to the form.
  23 record, Doctor.                                   23       THE WITNESS:
  24    A. September 10th, 2014.                       24          I wouldn't be surprised by that.
  25    Q. Now, if -- and this is a record by          25 BY MS. JEFFCOTT:

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   1     Q. And --                                         27.
                                                           1
   2     A. I'm just saying I don't know off --          2    Q. And I -- this is obvious. But you would
   3 offhand.                                            3 agree that's below a GFR of 30?
   4     Q. And can you explain the discrepancy          4    A. Yes, ma'am.
   5 between your report which states that Mrs. Orr had 5        I -- I don't know what the setting of this
   6 Stage 3B moderate kidney disease and Dr. Cruz's     6 test -- if this was in the setting of an
   7 records that indicate that she had in fact Stage 4  7 outpatient or --
   8 chronic kidney disease --                           8    Q. I mean, do you recall Mrs. Orr being --
   9     A. Sure.                                        9    A. I do recall.
  10     Q. -- severe --                                10    Q. -- an acute --
  11       MR. IRWIN:                                   11       MR. IRWIN:
  12          Object to the form.                       12           I ask that you let him finish his
  13 BY MS. JEFFCOTT:                                   13       answer, please. I don't think he was
  14     Q. -- kidney disease.                          14       finished.
  15     A. Sure.                                       15       THE WITNESS:
  16       I -- so my review, again, of her             16           I was just saying I'm not sure --
  17 creatinine clearances were generally above 30. I   17       MS. JEFFCOTT:
  18 think she had some acute setting -- in the -- it's 18           Sorry, Doctor. Go ahead.
  19 -- acute settings where it would dip below 30. So  19       THE WITNESS:
  20 I'm -- I'm -- and I'm going to go with Stage 4     20           -- if this is in the setting of a
  21 being 30 to let's say 15. I -- I can't tell you    21       hospitalization or a recent illness
  22 that. I'm going -- let's -- below 30. Okay.        22       or . . . I don't have the context --
  23       I can't tell you why Dr. Cruz had the        23 BY MS. JEFFCOTT:
  24 impression of chronic kidney disease Stage 4.      24    Q. And -- and, Doctor --
  25 It's possible that his initial one on              25    A. -- of that.
                                               Page 51                                                 Page 53
   1 November 10th was based on a creatinine that he       1   Q. -- would you like to review your -- your
   2 reviewed in the acute setting and then he             2 report to assess whether or not in -- in your --
   3 continued -- you know, sometimes we just write the    3   A. I -- I -- sorry.
   4 same thing in our follow-up notes. Again, I don't     4   Q. -- history of -- of Mrs. Orr, whether or
   5 know. I'm not going to say anything, but you're       5 not she was hospitalized at that time?
   6 asking me why there may be differences.               6   A. I don't think I wrote in here every
   7       But I do think that ultimately she had a        7 specific hospitalization. I did write "Developed
   8 creatinine clearance that generally was above 30,     8 worsening CHF, with multiple hospitalizations."
   9 and that's why I would characterize her as a          9 So I don't know the time frame of this one. I'm
  10 Stage 3.                                             10 not saying that is -- I'm just saying I don't know
  11    Q. And -- and is it possible that Dr. Cruz,       11 the context.
  12 her -- her nephrologist, had access to kidney data   12   Q. And -- and, Doctor, who would be better
  13 that -- that you didn't in -- in your review of      13 qualified to assess Mrs. Orr's kidney function,
  14 the records for your report?                         14 you or her nephrologist?
  15    A. Anything's possible, I would say.              15      MR. IRWIN:
  16    Q. And I'd like to mark as Exhibit 10, which      16         Object to the form.
  17 is lab work for Mrs. Orr.                            17      THE WITNESS:
  18       (Exhibit No. 10 was marked for                 18         I think --
  19       identification and attached hereto.)           19      MR. IRWIN:
  20 BY MS. JEFFCOTT:                                     20         You may answer.
  21    Q. And, Doctor, would you mind reading the        21      THE WITNESS:
  22 date that lab -- that that sample was collected.     22         I think a nephrologist is an expert in
  23    A. Collected October 28, 2014.                    23      the management of renal disorders.
  24    Q. And would you mind reading her GFR.            24 BY MS. JEFFCOTT:
  25    A. Estimated GFR for a non-African-American,      25   Q. And -- and so Mrs. --

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   1    A. Yes. Dr. Cruz. Let me rephrase.                 1    Q. And these are Mrs. Orr's lab records, a
   2    Q. So Dr. Cruz would be in a better position       2 reproduction of them; is that correct?
   3 to assess Mrs. Orr's kidney function than you?        3    A. It says Sharyn Orr. So unless it's a
   4    A. I'm not going to say in a better position.      4 different one. It has the same date of birth too.
   5 Because we have the hindsight of a lot of data        5 So . . .
   6 going forward. And so what -- the advantage I         6    Q. And so under that column dated
   7 have over Dr. Cruz is he's making an assessment in    7 March 11, 2015, would you mind reading off what
   8 the setting of maybe of a 20- or a 30-minute          8 her GFR score would have been.
   9 clinic visit and has a limited time and data to       9    A. 27.
  10 look at perhaps. I've had hours to look and          10    Q. Okay.
  11 answer specifically that question. So he is a        11    A. Can I also make another comment?
  12 expert more than myself. But is he better            12    Q. Sure.
  13 prepared in this specific case? I can't say that.    13    A. So if you look at her cortisol level, you
  14 Again, he's got a 20-minute --                       14 see that's also circled. It is markedly elevated.
  15    Q. Sure.                                          15 So to me this is someone who's in an acute
  16    A. -- window.                                     16 stressor. Those are -- you know, cortisol is a
  17    Q. Did -- did you treat Mrs. Orr --               17 level -- endogenous hormone will go up in times of
  18    A. No.                                            18 stress. And so I don't think she's at a baseline
  19    Q. -- prior to her death?                         19 level -- baseline status with that one.
  20       And -- and do you know how long Dr. Cruz       20    Q. Okay. What --
  21 treated Mrs. Orr for her kidney issues?              21    A. The one on November 24th, it was normal.
  22    A. I'm -- at least going back to                  22    Q. Okay. And then --
  23 September 2014. I can say that, but I don't have     23    A. But not that one.
  24 the dates.                                           24    Q. And -- and you agree, though, that her
  25    Q. And -- and in fact, it was much earlier?       25 GFRs were in fact elevated for the November and

                                               Page 55                                                 Page 57
   1       MR. IRWIN:                                    March readings?
                                                           1
   2          Object to the form.                      2       MR. IRWIN:
   3 BY MS. JEFFCOTT:                                  3         Object to the form.
   4    Q. And, Doctor, I'm going to mark as           4       THE WITNESS:
   5 Exhibit 11 additional lab records for Mrs. Orr.   5         I agree that you have two readings
   6 And I -- I apologize in advance for the poor      6       here on separate dates that are --
   7 quality. I couldn't find a better one in our      7 BY MS. JEFFCOTT:
   8 records.                                          8    Q. And --
   9       (Exhibit No. 11 was marked for              9    A. -- 26 and 27. Yes.
  10       identification and attached hereto.)       10    Q. And both of those readings were below 30?
  11       THE WITNESS:                               11    A. Yes, ma'am.
  12          Okay.                                   12    Q. And so based on the lab work I just handed
  13 BY MS. JEFFCOTT:                                 13 you for -- which would be Exhibit 11 and
  14    Q. And, Doctor, would you mind identifying 14 Exhibit 10 --
  15 for -- in the column -- do you see the column    15    A. Ten? I don't have 10. Did we skip 10,
  16 marked as November 24th, 2014 --                 16 or --
  17    A. Yes.                                       17       MR. IRWIN:
  18    Q. -- at the top?                             18         You have 10.
  19       And then going down and -- and identifying 19       THE   WITNESS:
  20 what the GFR for a non-African-American, what 20            -- did I not get 10?
  21 those results would have been for Mrs. Orr?      21       MS. JEFFCOTT:
  22    A. 26.                                        22         Ten is the --
  23    Q. And then the -- the column to the left is  23       THE WITNESS:
  24 for March 11th, 2015; is that correct?           24         Okay. Yes.
  25    A. Yes.                                       25       MR. IRWIN:

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   1          Here it is.                                    1       Argumentative.
   2       THE WITNESS:                                      2       THE WITNESS:
   3          I'm sorry. Yes, ma'am. Okay.                   3          She had multiple hospitalizations for
   4 BY MS. JEFFCOTT:                                        4       heart failure. I don't have the dates.
   5    Q. You have multiple instances consecutively         5 BY MS. JEFFCOTT:
   6 where Mrs. Orr's GFR was below 30. Do you agree? 6           Q. I mean, would you like to take time to
   7       MR. IRWIN:                                        7 look through your report?
   8          Object to the form.                            8    A. I didn't -- I didn't put them in my
   9       THE WITNESS:                                      9 report.
  10          I have two incidents -- three                 10    Q. Did -- and why didn't you include those
  11       incidents. Well, what is the date for the        11 dates in your report?
  12       other one? Let me see here.                      12    A. At the time I didn't think that those
  13       October 28th. Three incidences, yes,             13 would come up in this sort of question. It's hard
  14       ma'am.                                           14 to anticipate everything that's going to come up.
  15 BY MS. JEFFCOTT:                                       15 And I was trying to be somewhat succinct. I --
  16    Q. And those instances were within relatively       16 and keep it to things that I thought were relevant
  17 a short time span of -- of one another, within --      17 at the time.
  18 I think it was five months?                            18    Q. Sure. But you testified here today that,
  19       MR. IRWIN:                                       19 you know, if a patient is having an acute event it
  20          Object to the form.                           20 can impact their baseline function. And so
  21       THE WITNESS:                                     21 wouldn't -- wouldn't you think that's important,
  22          They were within five months of each          22 to include such acute events --
  23       other.                                           23    A. I did in my --
  24 BY MS. JEFFCOTT:                                       24    Q. -- in your report?
  25    Q. And again, those instances support Dr.           25    A. I'm sorry. I did. I said she had
                                                 Page 59                                                 Page 61
   1 Cruz's opinion that Mrs. Orr had Stage 4 severe        1 multiple hospitalizations for heart failure. I
   2 kidney disease?                                        2 just don't have the dates.
   3        MR. IRWIN:                                      3    Q. And so say if -- if Mrs. Orr didn't have
   4          Object to the form.                           4 an acute event in the -- in the preceding
   5 BY MS. JEFFCOTT:                                       5 five months before her brain bleed, would you
   6    Q. Is that fair?                                    6 agree that -- that Dr. Cruz's opinion that she had
   7    A. I -- I -- again, I -- I'm -- I'm -- I'm          7 Stage 4 chronic kidney disease is in fact
   8 not going to make a statement in -- about that         8 supported by the lab work?
   9 without having the whole context. If there are         9    A. I -- again, my review -- and I wasn't --
  10 other creatinines that were in -- creatinine          10 and I'm -- was as objective as I could be, was
  11 clearances that were obtained in between these        11 that her creatinine clearance generally was above
  12 that were above -- again, I'm looking at the          12 30. If I had seen her in -- in -- as a clinical
  13 March one. She has something going on. She's not      13 visit, that would have been my assessment. And if
  14 in a good place.                                      14 -- if she were seeing a nephrologist who had
  15    Q. Well, you -- Doctor, were all these             15 written CKD 4 and I had seen a creatinine
  16 related to acute events?                              16 clearance pattern that I think was above 30, I
  17    A. I -- I can't -- that's what I'm saying.         17 wouldn't necessarily go by what -- the label that
  18 I'm not willing to make a reference to her CKDs.      18 was put on her. I would go on what my thoughts
  19 I don't know whether these are acute or chronic.      19 are her creatinine clearance in general.
  20 I -- I don't have the context.                        20    Q. And -- and if in fact -- you know, if
  21    Q. Well, in -- in -- in your report, do you        21 Mrs. Orr had a creatinine clearance or a GFR of
  22 identify any acute events in the five months          22 less than 30, that she would have been -- she
  23 preceding her hospitalization for a brain bleed?      23 would not have been a candidate for Xarelto?
  24        MR. IRWIN:                                     24        MR. IRWIN:
  25          Object to the form of the question.          25          Object to the form. Asked and

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   1      answered.                                       1 Page 15. So -- and it's -- the section is titled
   2      THE WITNESS:                                    2 "Would" Sharyn Orr "Have Fared Differently if She
   3         Yeah. I -- I -- I keep going back to         3 Had Been on Warfarin or a Different DOAC." It's
   4      -- I -- I -- my impression was her              4 towards -- it's I think --
   5      creatinine clearance overall was above 30,      5    A. Yep. I got it.
   6      except for in acute stages. And you will        6    Q. You got it? Okay.
   7      have occasional outliers that dip below         7    A. Yes, ma'am.
   8      that. I think it was appropriate to use         8    Q. You give the opinion that Mrs. Orr would
   9      the 15-milligram dosing. And I -- I would       9 not have had a different outcome if she had been
  10      have. And I'm -- in -- in my practice, I       10 on -- on warfarin or another DOAC; is that right?
  11      will -- will use it in that manner.            11    A. Yes, ma'am.
  12 BY MS. JEFFCOTT:                                    12    Q. And so, in other words, it's your opinion
  13    Q. And -- and my question's a little bit         13 that her intracranial hemorrhage and death would
  14 different.                                          14 have occurred regardless if she had been on
  15    A. Okay.                                         15 warfarin or another DOAC. Is -- is that fair?
  16    Q. I'm asking if -- if Mrs. Orr [sic]            16    A. That is my impression. There's no way to
  17 creatinine clearance had dipped below 30 and --     17 know a hundred percent, but that is my opinion.
  18 and that -- that had become her baseline, would     18 Yes.
  19 you agree with me that you would not have had her   19    Q. And as your opinion relates to warfarin,
  20 on Xarelto?                                         20 would you agree that the relative safety and
  21    A. If her creatinine clearance had               21 efficacy of warfarin is dependent on a patient's
  22 chronically been below 30 without acute settings,   22 time in therapeutic range?
  23 I would have switched.                              23    A. The -- can you state again? Let me just
  24    Q. Okay.                                         24 make sure I'm . . .
  25    A. Again, my review of this and seeing what      25    Q. Yeah.
                                              Page 63                                                 Page 65
   1 her creatinine clearance is, I would have            1    A. The relative -- relative to what?
   2 continued the 15-milligram --                        2    Q. Relative safety and efficacy of warfarin
   3      MS. JEFFCOTT:                                   3 to a given patient is dependent on a patient's
   4         Motion --                                    4 time in therapeutic range.
   5      THE WITNESS:                                    5    A. I think the longer in the therapeutic
   6         -- in this specific patient.                 6 range, the better, the more effective --
   7      MS. JEFFCOTT:                                   7    Q. Right. So --
   8         Motion to strike the -- the part after       8    A. -- and safe.
   9      "I would have switched" as nonresponsive.       9    Q. -- the longer that a patient's in
  10         Do you mind if we take a break?             10 therapeutic range, in TTR, the lower the risk of
  11      That's okay?                                   11 stroke and the lower the risk of -- of bleeding.
  12      THE VIDEOGRAPHER:                              12 Is that fair?
  13         The time now is 9:57 a.m. We're off         13    A. I think that for an individual, the
  14      the record.                                    14 quality of TTR control correlates with outcomes.
  15      (Brief recess was taken.)                      15    Q. Okay. And -- and -- and so the higher the
  16      THE VIDEOGRAPHER:                              16 TTR, higher average TTR, whether it's 55, 60, 70,
  17         This begins Disk 2 of today's               17 correlates to the -- the outcome, and that -- that
  18      deposition. The time now is 10:07 a.m.         18 outcome includes --
  19      We are back on the record.                     19    A. I think a higher -- I'm sorry.
  20 BY MS. JEFFCOTT:                                    20    Q. -- outcome includes risk of stroke and
  21   Q. Now, Doctor, we had a brief break.             21 bleeding?
  22      Is there any testimony that you want to        22    A. I think higher an individual's time in the
  23 change having come off the break?                   23 therapeutic range, the better they're going to do.
  24   A. No, ma'am.                                     24 Yes. I -- I do believe that.
  25   Q. Okay. If you wouldn't mind going to            25    Q. And in terms of outcomes -- well, I

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   1 mean . . .                                          1 of range?
   2       From ROCKET, we know that how Xarelto         2      MR. IRWIN:
   3 compared to warfarin was in a population that       3         Object to the form.
   4 averaged a -- an average TTR 55 percent of the      4      THE WITNESS:
   5 time?                                               5         Am I --
   6    A. Yes, ma'am.                                   6      COURT REPORTER:
   7    Q. And -- and we don't know how Xarelto          7         Their TTRs were what?
   8 compared to patients on warfarin who had a TTR of 8        MS. JEFFCOTT:
   9 say 70, 80 percent; is that -- is that right?       9         Out of range.
  10    A. Correct.                                     10      THE WITNESS:
  11    Q. Okay. And do you know what the TTR was 11               Am I aware that there were TTRs that
  12 for patients in ROCKET who suffered a intracranial 12      were out of range?
  13 hemorrhage on warfarin?                            13 BY MS. JEFFCOTT:
  14    A. Do I know the average TTR of                 14    Q. Of the patients who suffered intracranial
  15 patients . . .                                     15 hemorrhages.
  16    Q. Do you know the -- the -- the patient --     16      MR. IRWIN:
  17 the individual TTR of patients who suffered a      17         The same --
  18 intracranial hemorrhage --                         18      THE WITNESS:
  19    A. No.                                          19         I'm not -- sorry.
  20    Q. -- in ROCKET?                                20      MR. IRWIN:
  21    A. I -- not off the top of my head. I don't     21         Same objection. Form.
  22 remember. I may have seen something, but I don't. 22       THE WITNESS:
  23       MS. JEFFCOTT:                                23         I'm not familiar with the specifics in
  24          Is the coffee here? Do -- should we       24      that regard.
  25       take a break?                                25 BY MS. JEFFCOTT:

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   1       MR. IRWIN:                                         1    Q. And can you opine to -- strike that.
   2          You want to take a quick break? Yes.            2       Can you opine what Mrs. Orr's TTR would
   3       THE VIDEOGRAPHER:                                  3 have been had she been on warfarin?
   4          The time now --                                 4    A. No. Not -- my suspicion is that it would
   5       THE WITNESS:                                       5 have been -- we do know that higher risk factors
   6          Now? Okay.                                      6 for CHADS -- CHADS-VASc correlate with low --
   7       THE VIDEOGRAPHER:                                  7 lower TTRs in general. So my impression, it would
   8          -- is 10:10 a.m. We are off the                 8 be lower, not higher. But I can't tell you -- no
   9       record.                                            9 way to know definitively.
  10       (Brief recess was taken.)                         10    Q. And there's no way to assess what her TTR
  11       THE VIDEOGRAPHER:                                 11 would have been on warfarin unless she had
  12          The time now is 10:12 a.m. We are              12 actually been on warfarin?
  13       back on the record.                               13    A. Yes, ma'am.
  14 BY MS. JEFFCOTT:                                        14    Q. Okay. And -- and -- and since we know
  15    Q. And, Doctor, before we took our brief             15 that there is a connection between TTR and
  16 coffee break we were talking about in ROCKET, that      16 outcome, you know, what -- whatever that outcome
  17 we -- we don't know how Xarelto patients compared       17 is, whether it's a stroke or a bleed, without
  18 to warfarin patients at a TTR of 70, 80 percent;        18 knowing Mrs. Orr's TTR, you can't say with a
  19 correct?                                                19 reasonable degree of medical certainty how she
  20    A. Correct.                                          20 would have done on warfarin?
  21    Q. And that you don't know what the TTR was          21       MR. IRWIN:
  22 for individual patients who suffered intracranial       22         Object to the form.
  23 hemorrhages?                                            23       THE WITNESS:
  24    A. Correct.                                          24         I -- I'm looking at populations when
  25    Q. And are you aware that their TTRs were out        25       making that statement. So if -- in

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   1       general, if someone comes in with a bleed             1       THE WITNESS:
   2       on Xarelto, there's no data that I'm aware            2          I think if we had a hundred
   3       of or familiar with that would indicate               3       Sharyn Orrs on warfarin and a hundred
   4       that she would have been a lower risk if              4       Sharyn Orrs on rivaroxaban, the overall
   5       she had been on warfarin, unless she had a            5       outcomes would have been similar. I think
   6       contraindication to the Xarelto,                      6       that's the take-home message that I take
   7       creatinine -- end-stage renal disease, or             7       home from the data.
   8       mechanical valve or something of that                 8 BY MS. JEFFCOTT:
   9       nature. So I think in general the data                9    Q. But -- and again, what's -- what's the
  10       doesn't support one way -- doesn't support           10 basis for that?
  11       that it would have gone better with                  11    A. ROCKET and the -- the real-world registry
  12       warfarin.                                            12 data. I -- I think if you look at all --
  13 BY MS. JEFFCOTT:                                           13 all-comers, I think that's what it showed. So
  14    Q. I think you -- you mentioned a minute ago            14 we --
  15 that there are certain risk factors, like                  15    Q. But as you --
  16 CHADS-VASc, that indicate whether or not somebody          16    A. It's hard -- I'm sorry.
  17 will have -- relative to their TTR, that they'll           17    Q. Were you done with your answer?
  18 have a lower TTR if -- if they have a higher               18    A. No.
  19 CHADS-VASc. Did I -- did I state that correctly            19       It -- it's -- it's hard -- what I tell
  20 as --                                                      20 people is, If you have a bleed, it's a hundred
  21    A. CHADS-VASc.                                          21 percent for you. But we don't look at it that
  22    Q. -- as what you said?                                 22 way. You have to look at populations. So I try
  23    A. I -- the higher the CHADS-VASc, I think              23 to frame it for patients, If we put a hundred of
  24 there's more of a challenge with TTR in general.           24 you on this or a hundred of you on this, and use
  25    Q. And what literature can you cite to                  25 that frame of reference. And so that's the --

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   1 support that?                                             1 kind of the way that I think about it. You can't
   2    A. I don't -- I cannot cite off the top of my          2 predict with certainty with any individual when
   3 head. It's -- it's something that I think about           3 you go down one path or another. But if you look
   4 in my practice. And I don't know -- again, I              4 at populations and you're playing a hundred versus
   5 can't give you the specific citation. Intuitively         5 a hundred, that's -- that's how I try to frame it
   6 it makes sense to me that that would be the case,         6 for my patients when I'm talking to them in that
   7 but I can't give you a specific citation.                 7 regard. And I think if you took a hundred on
   8    Q. Has that been specifically studied?                 8 warfarin and a hundred on Xarelto, the outcome
   9    A. I'm -- I believe that there is data out             9 would have been different.
  10 there looking at that. I don't -- this is not            10    Q. Well --
  11 something that I would have just come up with on         11    A. That's how it would have shaken out.
  12 the top of my head. But again, I can't quote the         12    Q. But like you said, you can't predict with
  13 specific stuff.                                          13 certainty as to any patient?
  14    Q. At this point in time, you can't name a            14    A. I never predict anything with certainty
  15 single study that supports your statement that a         15 with any patient when it comes to any situation.
  16 lower CHADS-VASc score makes it difficult to             16 There's very -- I -- very few absolutes when it
  17 assess TTR?                                              17 comes to the practice of medicine. I don't -- I
  18    A. I -- I can't give a specific study. No.            18 can't tell you anything's going to be a hundred
  19    Q. And -- and going back to Mrs. Orr, you             19 percent.
  20 would agree that absent knowing how she would have 20             I never -- patients will want that, and I
  21 actually done on warfarin through a TTR, you can't       21 will never say anything with absolute certainty.
  22 actually say what her outcome would have been had        22 That's not -- that's the practice of medicine.
  23 she been on warfarin?                                    23 You have to be -- you have to be careful with
  24       MR. IRWIN:                                         24 that. So I try to shy away from using absolutes.
  25         Object to the form.                              25 People want the word "cure." I'll say, We're not


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   1 going to use the word "cure," We're going to use             1      degree of medical certainty, that --
   2 "control," and -- and those kind of things.                  2      saying that it would not have been
   3      So I'm not going to say with absolute                   3      different, because again, if you look at
   4 certainty. It's my opinion that in general a                 4      overall numbers, I think that that would
   5 hundred of her on this, a hundred on that, it                5      have been the case. I won't say absolute
   6 would have been no different.                                6      with her, but -- an absolute uncertainty.
   7    Q. Right. But -- so when you look at                      7      But it is my impression, it is my opinion
   8 ROCKET -- so if you're -- if you -- in the lens of           8      based on Mrs. Orr and the data that's out
   9 ROCKET and you're looking at a hundred of Mrs. Orr           9      there that there would be no difference.
  10 on -- a hundred of Mrs. Orr on Xarelto and a                10 BY MS. JEFFCOTT:
  11 hundred of Mrs. Orr on warfarin, that's assuming            11    Q. Going back, you -- you don't know whether
  12 that Mrs. Orr would have had a TTR of 55 percent;           12 or not she would have done better or worse or the
  13 correct?                                                    13 same as the average patients in ROCKET?
  14    A. No. I think that assumes that some                    14      MR. IRWIN:
  15 Mrs. Orrs have a TTR of 50, some have a TTR of 70,          15          Object to the form of the question.
  16 some have a TTR of 55. And I think in overall, in           16      THE WITNESS:
  17 the hundreds, they would average a TTR of 55.               17          I think if I had used that train of
  18    Q. But you don't know whether Mrs. Orr would             18      thought I would never prescribe any new
  19 have had an average TTR of -- of 55 percent --              19      medication. You can't -- you have to look
  20    A. Yeah. Again, I -- there's nothing --                  20      at populations. And so individuals -- I
  21    Q. -- correct?                                           21      understand we're treating individuals, and
  22    A. -- that you can -- if I used that train of            22      it's all about the individual. But when
  23 thought, I'd be paralyzed in terms of making a              23      you're applying this, you have to think
  24 decision. Because you can't ever say with                   24      about this in terms of populations.
  25 absolute certainty anything. It's -- if you --              25          So again, I think in that lens --
                                                       Page 75                                                      Page 77
   1 you have to think about it in terms of averages              1       that's the lens that I operate in. That's
   2 and populations. There's no -- there's no                    2       the lens that I practice in. I -- I -- I
   3 clinically meaningful way to say absolutely. It              3       feel comfortable saying that in general
   4 doesn't -- it's not a clinically -- I'm trying to            4       the outcomes would not likely have been
   5 keep this in the clinical realm of -- you know, in           5       different. I -- I -- you know, can I tell
   6 the context of taking patients. I can't say with             6       you absolutely? I can't tell you
   7 absolute certainty that if you took a different              7       unequivocally. But am I comfortable
   8 Mrs. Orr she would have had the same outcome, you            8       saying with a reasonable degree of
   9 know. Again, I think you have to look at the data            9       uncertainty? Yes.
  10 and apply it in that manner. And if you have a              10 BY MS. JEFFCOTT:
  11 hundred on warfarin, a hundred on Xarelto, I think          11    Q. And -- and are you familiar with
  12 what ROCKET has demonstrated is equivalence.                12 statements made by the FDA regarding switching
  13    Q. And, Doctor, we're not talking about                  13 patients that are well-controlled on warfarin to
  14 absolute certainty. We're talking about a                   14 Xarelto?
  15 reasonable degree of medical certainty here.                15    A. That could be in reference to a couple
  16 And --                                                      16 different things. So if -- I am aware of some
  17    A. Okay.                                                 17 issues in that regard. And I'm -- if you have
  18    Q. -- in -- in that lens, you can't say                  18 something you want to review, we can review.
  19 whether or not Mrs. Orr's outcome would have been           19    Q. What -- what specific issues are you --
  20 different on warfarin?                                      20 are -- are you familiar with?
  21    A. I --                                                  21    A. Transitioning someone from warfarin to
  22      MR. IRWIN:                                             22 Xarelto or stopping Xarelto and going back to
  23         Object to the form.                                 23 warfarin, there have been concerns raised in
  24      THE WITNESS:                                           24 regard to that.
  25         I feel comfortable with reasonable                  25    Q. Are you aware that the FDA recommended not

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   1 switching patients who were well-controlled on        1     MS.   JEFFCOTT:
   2 warfarin to Xarelto?                                2          All right.
   3        MR. IRWIN:                                   3       MR. IRWIN:
   4           Object to the form of the question.       4          -- and may say he wants to see. And
   5        THE WITNESS:                                 5       you can go ahead and ask -- ask the
   6           I don't remember wording to that          6       question. I told you you can ask the
   7        nature. That doesn't mean that's not the     7       question. But I'm not sure I'm going to
   8        case. If you have something, I'm happy to    8       let him answer, but let's see.
   9        look at it.                                  9 BY MS. JEFFCOTT:
  10 BY MS. JEFFCOTT:                                   10    Q. Doctor, do you agree with this statement:
  11    Q. In the eyes of the FDA, it was important     11 Thus the data -- the data do not convincingly
  12 that the individual control -- INR control was a   12 demonstrate that rivaroxaban is as effective in
  13 factor in assessing whether or not a patient       13 presenting strokes and systemic emboli as warfarin
  14 should be switched to Xarelto?                     14 when warfarin is used skillfully. This suggests
  15        MR. IRWIN:                                  15 that rivaroxaban should only be used in patients
  16           Object to the form of the question.      16 whose INR cannot be well-controlled on warfarin or
  17 BY MS. JEFFCOTT:                                   17 are unwilling to take it?
  18    Q. Is --                                        18       MR. IRWIN:
  19    A. I don't recall them specifically stating     19          Object --
  20 -- I -- I know that it's in the label. The         20 BY MS. JEFFCOTT:
  21 caution for interpretation is unclear what         21    Q. Does that refresh your memory?
  22 patients with a better TTR would have done, how 22          MR. IRWIN:
  23 would they have fared. But I don't recall the      23          Object to the form of the question.
  24 specifics to what you're -- if you have something, 24       THE WITNESS:
  25 again, I'm happy to . . .                          25          I am --
                                                Page 79                                                 Page 81
   1    Q. Okay. Well, let me read you something           1   MR. IRWIN:
   2 fairly short.                                     2          You may answer.
   3       MR. IRWIN:                                  3       THE   WITNESS:
   4          If you've got a document, rather than    4          I sure would like to see the context
   5       reading it -- that -- from a document he    5       of that. Because I know that the general
   6       can't see and you have on a computer, we 6          tenor FDA approved warfarin and doesn't
   7       can take a break, and you can print it up. 7        have that statement in the label. So I
   8       MS. JEFFCOTT:                               8       sure would like to see the context.
   9          Let me just read it, and then we'll go   9 BY MS. JEFFCOTT:
  10       from there.                                10    Q. Can -- can --
  11       MR. IRWIN:                                 11    A. I'm happy to --
  12          Well -- okay. What -- I may tell him    12    Q. Can you --
  13       not to answer unless you give him the      13    A. -- look at that.
  14       document. But go ahead.                    14    Q. -- answer the question, Doctor?
  15       MS. JEFFCOTT:                              15    A. I'm not going to answer without having the
  16          On what grounds?                        16 -- the context. I know that the FDA ultimately
  17       MR. IRWIN:                                 17 approved the medication without that caveat. So
  18          On the grounds that you're reading an 18 I'm -- I'm happy to --
  19       excerpt of a document that's on your       19    Q. But, I mean, are you --
  20       computer screen --                         20    A. -- to review it.
  21       MS. JEFFCOTT:                              21    Q. -- familiar with the statement?
  22          Okay.                                   22    A. I -- it --
  23       MR. IRWIN:                                 23    Q. Have you read it before?
  24          -- that the witness may be entitled to  24    A. That -- that -- I -- that's a --
  25       see --                                     25       MR. IRWIN:

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   1         Don't answer the question, Doctor.            analogy.
                                                           1          So  just hear me out for a second.
   2      You asked to see the document.                 2    A. Is this Boniol's, the Cowboy --
   3      MS. JEFFCOTT:                                  3    Q. Yes.
   4         On what grounds are you objecting?          4    A. Yeah. He's the football guy. Yes. Go
   5      MR. IRWIN:                                     5 ahead. I'm sorry.
   6         On the grounds that the doctor has          6    Q. And I admittedly am not. So if I mess it
   7      asked to see the document. He's a              7 up, forgive me.
   8      witness. He's entitled to see a document.      8      And the analogy is that just because the
   9      And you have it, and I told you I can          9 Saints  beat the Cowboys and the Cowboys beat the
  10      print it up for you if you want me to.        10 Falcons doesn't mean the Saints will beat the
  11      MS. JEFFCOTT:                                 11 Falcons.
  12         All right. We'll move on.                  12      MR. IRWIN:
  13 BY MS. JEFFCOTT:                                   13          The Saints haven't beaten the Falcons
  14    Q. Doctor, would you mind turning to the next   14      In  years. So . . .
  15 page of your report, which is Page 16.             15      THE WITNESS:
  16    A. Very important for next time, label with     16          I would agree with that.
  17 numbers. I'm sorry.                                17 BY MS. JEFFCOTT:
  18    Q. You did in your generic report.              18    Q. And -- and so applying that to the DOACs,
  19    A. I know. I don't . . . This was the third     19 would you agree that just because Eliquis was
  20 or second report. I was getting tired.             20 deemed superior to warfarin and Xarelto was deemed
  21      Which --                                      21 noninferior to warfarin doesn't mean that the two
  22    Q. Do you -- well, before we get to the         22 drugs -- doesn't mean that you can say which drug
  23 report -- I think I had you turn the page a little 23 is better than the other?
  24 prematurely.                                       24    A. I'll agree with that.
  25      But --                                        25    Q. And -- and that's why in your generic

                                                Page 83                                                  Page 85
   1     A. Okay.                                          1 report you state that it's not possible in an
   2     Q. -- do you agree with the general statement     2 individual patient scenario to determine outcomes
   3 that cross-city comparisons are fraught with          3 on the various DOACs without conducting first a
   4 peril?                                                4 scientific research directed at that?
   5     A. Cross-city?                                    5    A. Can you show me where you --
   6     Q. Study.                                         6    Q. Sure.
   7     A. Cross-study comparisons are fraught with       7    A. That sounds familiar. I just want to see
   8 peril?                                                8 the . . .
   9     Q. Have you heard that statement before?          9    Q. I'll mark as --
  10     A. I've heard the statement before. I --         10    A. This is in the --
  11 it's -- am I familiar with the statement? Yes.       11    Q. It's your generic.
  12     Q. And do you --                                 12    A. The generic report. Oh, okay. Going back
  13     A. We'll start with that.                        13 to that. I thought we had put that --
  14     Q. -- agree with it?                             14    Q. It won't be much.
  15     A. Do I agree with the statement? Hard to        15    A. -- to rest.
  16 make a blanket statement like that. I think that     16    Q. This is Exhibit No. 12.
  17 there are -- you have to be wary when looking at     17       (Exhibit No. 12 was marked for
  18 cross-study comparisons. I think that's              18       identification and attached hereto.)
  19 absolutely critical. But I wouldn't say they're      19 BY MS. JEFFCOTT:
  20 absolutely without merit, but --                     20    Q. And, Doctor, would you just mind --
  21     Q. Fair enough.                                  21 briefly take a look at it.
  22     A. -- definitely need to be interpreted with     22    A. Yes, ma'am.
  23 caution.                                             23       MS. JEFFCOTT:
  24     Q. So I -- I'm going to use an analogy that I    24           Actually, here. No. No. You can
  25 think came from science day. And it's a football     25       take that one.

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   1 BY MS. JEFFCOTT:                                      1 Q. Yeah.
   2     Q. And -- And, Doctor, would you mind -- I -- 2     A. -- page.
   3 I didn't actually print out all the appendices     3    Q. You got it.
   4 because I didn't think it was necessary. It's      4    A. I'm sorry. Okay. Yes. All right.
   5 just --                                            5    Q. Okay. You opine that it -- it wouldn't
   6     A. Okay.                                       6 have made a difference if Mrs. Orr had had a
   7     Q. -- your report. Would you mind just --      7 reversal agent for Xarelto or if earlier surgical
   8     A. Sure.                                       8 intervention would have been different -- sorry.
   9     Q. -- briefly looking through it to make sure  9 Let's scratch that one, start over.
  10 it's an accurate copy.                            10      You state that it wouldn't have made a
  11     A. It looks good. Okay.                       11 difference if there had been a reversal agent for
  12     Q. And if you would turn -- I mean, the --    12 Xarelto because her bleed was so severe.
  13 the specific portion that I was -- was discussing 13    A. Uh-huh.
  14 was on Page 19 of your report. And -- and what    14    Q. Is that -- is --
  15 you state is that in an individual patient        15    A. Yes.
  16 scenario, it is not possible to determine if      16    Q. Did I interpret that correctly?
  17 outcomes would be different if a different        17      Now, what do you mean by "severe"?
  18 anticoagulation was used unless that -- this is   18    A. I think that the size of the bleed and her
  19 specifically addressed in scientific research.    19 status upon arriving over at the Ochsner Main
  20       Do you see that?                            20 Campus where the neurosurgeons were.
  21     A. Okay. ". . . an individual patient         21    Q. And did you measure the size of the bleed?
  22 scenario it is not possible to determine if       22    A. No.
  23 outcomes would be different . . ." Yes. I do.     23    Q. And so what did you rely on to assess the
  24     Q. Okay. Now, without a direct comparison of 24 size of the bleed?
  25 Xarelto to Eliquis to Pradaxa, you would agree    25    A. I went by the medical records.
                                               Page 87                                               Page 89
   1 that it would be speculative to opine as to what      1     Q. Okay. And specifically what in the
   2 would happen if a patient was on a different          2 medical records?
   3 anticoagulant?                                        3     A. I don't remember which specific -- I -- I
   4    A. One more time. Let me just think about          4 can't remember a specific date of a specific
   5 that --                                               5 physician that used that. But I remember seeing
   6    Q. Now --                                          6 it replete in the records, referred to as large.
   7    A. -- for a second.                                7     Q. What literature can you cite to -- well,
   8    Q. -- in terms of comparing Xarelto to             8 scratch that.
   9 Pradaxa to Eliquis, you would agree that it would     9       There is a reversal agent for warfarin;
  10 be speculative to say what would happen if -- if a   10 correct?
  11 patient was on a -- on a different anticoagulant?    11     A. There are agents that can be used to
  12    A. Yes. I'll agree.                               12 reverse the anticoagulant effect. Yes.
  13    Q. You can put the -- your generic report         13     Q. And what literature can you cite to to
  14 aside and go back to your case-specific report.      14 support that she would have died even if she had
  15 Now, if you wouldn't -- now turn to Page 16.         15 been on -- on -- on warfarin?
  16 Never mind. I think you're on it. It -- it --        16     A. I have -- there's no literature to cite
  17    A. SO's ICH was Most Likely Related? That's       17 either way. What literature can I cite that --
  18 my page. That's the page I'm on.                     18 that's a -- there's -- one more time. That was
  19    Q. It's the page before that.                     19 confusing.
  20    A. Part of the -- Would SO Have Fared             20     Q. Okay.
  21 Differently if She Had Been on Warfarin or a --      21     A. All right.
  22    Q. This is in --                                  22     Q. And I'll -- I'll take it a little
  23    A. -- Different DOAC?                             23 differently.
  24    Q. There is not a heading on it.                  24     A. Okay.
  25    A. Yeah. It's from the -- the back of the --      25     Q. In terms of -- when you make a statement

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   1 regarding the severity of the bleed, you -- you       1 assess that; right?
   2 identified the mass effect and midline shift.         2      MR. IRWIN:
   3 And -- and I'm talk -- and what literature can you    3         Object to the form.
   4 cite to to state that that actually impacts           4      THE WITNESS:
   5 mortality?                                            5         I get you. I was not aware of the
   6    A. I can't give you -- again, I'm not a            6      need for citations when doing a patient
   7 neurosurgeon or a neurologist. It's just my           7      report. I -- I understood the value in
   8 clinical experience. When someone presents with       8      the setting of the general report. But
   9 this and a Glasgow coma scale that was reported as    9      I...
  10 that, that the chances of a meaningful recovery      10 BY MS. JEFFCOTT:
  11 are extremely slim, in my clinical experience,       11    Q. And -- and, I mean, that kind of takes me
  12 extremely slim. That was a very large bleed, and     12 to your next statement, where you state that with
  13 she came in in a bad shape.                          13 an ICH score of 3, the risk of mortality is
  14    Q. And -- and -- and so your clinical             14 72 percent. And again, you don't have a citation.
  15 experience, having seen a handful of patients with   15 And so what's the basis of -- of that risk of
  16 hemorrhagic strokes on an annual basis?              16 mortality, Doctor?
  17       MR. IRWIN:                                     17    A. And I don't remember off the top of my
  18          Object to the form.                         18 head. This would have been between doing a PubMed
  19       THE WITNESS:                                   19 search or reading this from one of the
  20          I guess that would also include my          20 depositions. I doubt it's from the deposition
  21       conversations with neurologists and            21 because that's a specific number. So I'm pretty
  22       neurosurgeons historically when it comes       22 sure I did a PubMed search and pulled up an ICH
  23       to bleeds and their assessment. So that        23 score and would have correlated with.
  24       is -- that is an impression that I would       24    Q. So -- and how often in your -- I don't
  25       strongly -- that I -- that I believe in.       25 want to say general practice, but routine practice

                                               Page 91                                                       Page 93
   1       Yes.                                            1 do you use the ICH score?
   2 BY MS. JEFFCOTT:                                      2    A. Extremely rarely.
   3    Q. But you would defer to the impressions or       3    Q. Prior to providing an expert opinion in
   4 the opinions of the neurologist and neurosurgeon      4 this case, have you ever utilized the IAH score --
   5 in terms of the severity of a patient's               5 ICH score? Excuse me.
   6 hemorrhagic stroke?                                   6    A. No. And -- and my point would -- of this
   7    A. Yeah. If -- I would defer -- I would ask        7 was to be complete in terms of the records. I was
   8 the neurologists and the neurosurgeons in general     8 asked to comment on her care from A to Z in this
   9 to comment on the severity. I find it hard for        9 regard. And so that's why I went to the records
  10 there to be much challenge to -- to the -- whether   10 and the literature to find this. But this is by
  11 or not this was a severe bleed. I don't -- this      11 no means my area of expertise.
  12 one, even a non-neurologist, non-neurosurgeon can    12    Q. Okay. And so you're not -- you're -- at
  13 see is an extremely large --                         13 trial, you're not planning to offer an opinion
  14    Q. And -- and --                                  14 whether or not an ICH score of 3 is in fact a
  15    A. -- bleed.                                      15 proper ICH score for Mrs. Orr?
  16    Q. And I'm -- what I'm trying -- trying to do     16    A. I hope not to be involved in that part.
  17 is just understand the basis of -- of your           17    Q. Okay. And -- and -- and you mentioned
  18 statements and where they come from. And --          18 PubMed searches. What -- what were you searching?
  19 and -- and part of that is -- in terms of your       19    A. I looked up ICH score in correlation with
  20 report, there -- there aren't citations to medical   20 mortality.
  21 records, and there aren't citations to studies and   21    Q. Anything else?
  22 literature that would allow us to determine. And     22    A. No, ma'am.
  23 so the --                                            23    Q. So in writing this report, did you only
  24    A. I get you.                                     24 conduct that single PubMed search on ICH score and
  25    Q. -- exercise that we're having here is to       25 mortality?


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   1    A. I don't recall -- I can't recall               1      can't tell you.
   2 specifically what I used as a PubMed search. This    2      MS. JEFFCOTT:
   3 was done in the context of, Here's a clinical        3         Okay.
   4 question, I'd like to understand this better. So     4      THE WITNESS:
   5 I'm giving you an example of one that I -- I -- I    5         Because it -- it -- I don't even
   6 know. But I -- I can't recall off the top of my      6      remember the context. I remember the word
   7 head what I put in as a PubMed or did as a           7      "Hemphill" from reading some of the other
   8 literature search off the top of my head --          8      depositions. But I don't remember -- I
   9    Q. And did you --                                 9      can't tell you.
  10    A. -- if there were others. I'm sorry.           10 BY MS. JEFFCOTT:
  11    Q. Okay. No. I don't think you were              11    Q. Okay. And so this wasn't literature that
  12 finished. So . . .                                  12 you had previously reviewed --
  13    A. If -- if there were other phrases that I      13    A. I -- I can't --
  14 searched as well. I'm -- I'm sure there were. It    14    Q. -- prior to --
  15 wouldn't just be one thing. I -- generally when I   15    A. -- say with --
  16 do a PubMed search don't use one. I'll flip         16    Q. Let me -- let me start the question over.
  17 around and . . . But I can't remember off the top   17    A. I'm sorry.
  18 of my head. And I think citations would have been   18    Q. This wasn't literature that you had
  19 helpful. Not a perfect document. I don't pretend    19 previously reviewed prior to being hired by the
  20 that it is.                                         20 lawyers for Janssen?
  21    Q. And -- and so in -- beyond the ICH score      21    A. That is correct.
  22 which was authored by Dr. Hemphill -- does that     22    Q. Okay. And are you aware that the Hemphill
  23 sound familiar?                                     23 study specifically stated that the ICH score
  24    A. Sounds familiar.                              24 should not use for prognostic purposes?
  25    Q. Okay.                                         25      MR. IRWIN:
                                              Page 95                                               Page 97
   1    A. I saw the -- the discussions in some of        1         Object to the form of --
   2 the other depositions.                              2       MR. SARVER:
   3    Q. And -- and in addition to Hemphill study      3          Objection.
   4 regarding ICH score, did you review any other       4       MR. IRWIN:
   5 literature specific to intracranial hemorrhages?    5          -- the question.
   6    A. I honestly can't remember. I -- I'm not       6       THE WITNESS:
   7 saying that to obfuscate or anything like that. I   7          I'm not.
   8 honestly can't remember off the top of my head.     8 BY MS. JEFFCOTT:
   9    Q. And if you had reviewed, would you have       9    Q. Okay. And are you -- are you aware that
  10 included those articles in your reference list?    10 Hemphill said the ICH score is only appropriately
  11    A. I would hope to. I tried to make that as     11 used in terms of risk stratifications in clinical
  12 comprehensive as possible. I think we saw last     12 studies?
  13 week I -- I didn't have the FDA stuff. So I        13       MR. IRWIN:
  14 definitely tried to honor the spirit of this and   14          Object to the form of the question.
  15 be as comprehensive as possible with your reliance 15       THE WITNESS:
  16 list.                                              16          I don't recall off the top of my head.
  17    Q. And -- and so you know that Hemphill --      17       I remember somebody saying that -- I think
  18 Hemphill study on ICH was not included in your     18       it came up in a deposition. That sounds
  19 reliance list. And so I'm trying to get an idea    19       familiar, but I don't remember.
  20 of what you've looked at. Because --               20 BY MS. JEFFCOTT:
  21    A. I --                                         21    Q. Now, did you consider any other grading
  22       MR. IRWIN:                                   22 scales used in assessing intracranial hemorrhages
  23         Object to the form.                        23 or intraventricular hemorrhages for that matter?
  24       THE WITNESS:                                 24    A. I -- you know, again, when I was preparing
  25         I don't -- again, I don't recall. I        25 this report, I was trying to be complete on this.

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   1 And it -- it is my clinical -- my clinical                  1 and skill to assess the proper course of treatment
   2 impression that the severity of her bleed was               2 for an individual with a hemorrhagic stroke such
   3 marked, large, and her prognosis was extremely low          3 as Mrs. Orr?
   4 on arrival. That's based on my clinical                     4    A. Yes, ma'am. I by no means -- I would
   5 experience. And I can't tell you what other                 5 defer.
   6 literature I used or didn't use.                            6    Q. Now, in your report you also state -- I
   7    Q. And -- and -- and going back and focusing             7 think it's the last sentence on that page, that
   8 on the -- the ICH score and the risk of mortality,          8 "Dr. Bui testified that he could not say that"
   9 knowing that's not something that you use in your           9 early "surgical intervention would have made a
  10 normal practice, you can't say one way or another          10 change in outcome," concern -- "considering the
  11 whether or not that score is actually indicative           11 size of the bleed."
  12 of Mrs. Orr's prognosis?                                   12      Did I read that correctly?
  13       MR. IRWIN:                                           13      MR. IRWIN:
  14          Object to the form of the question.               14          It's back. Doctor, you've . . .
  15       THE WITNESS:                                         15      MS. JEFFCOTT:
  16          I -- I feel comfortable opining on a              16          I think the page before that.
  17       patient's general prognosis when they come           17      THE WITNESS:
  18       in with a bleed of this severity. I --               18          Oh.
  19       I -- I am -- again, I don't use ICH, and             19      MR. IRWIN:
  20       these are terms that are used by the                 20          The page --
  21       neurologists and neurosurgeons. So I -- I            21      THE WITNESS:
  22       agree with you.                                      22          Is that the last sentence?
  23          I do feel that this was a bleed that              23      MS. JEFFCOTT:
  24       was so marked that her clinical course was           24          The very last sentence on that page.
  25       pretty much there right from the                     25      I apologize.
                                                      Page 99                                               Page 101
   1       beginning. Odds were extremely against                1       THE WITNESS:
   2       her. I don't have literature. I'm not a               2          Oh. I'm sorry. "In fact" --
   3       neurosurgeon. I'm not a neurologist.                  3       MR. IRWIN:
   4       This is based on not just my practice as a            4          There you go.
   5        cardiologist but as an internal medicine             5       THE WITNESS:
   6       resident in medical school. This was a                6          -- ". . . he could not say that
   7       huge bleed.                                           7       earlier . . ." Okay. Yes. I --
   8 BY MS. JEFFCOTT:                                            8 BY MS. JEFFCOTT:
   9    Q. So if -- if -- if you ran an emergency                9    Q. Do you see that? Okay.
  10 room and Mrs. Orr came to you, would you have done         10    A. -- am. Yes. I do.
  11 nothing?                                                   11    Q. Do you want me to read the sentence again?
  12    A. Gosh, nothing's a horrible way to say                12    A. No, ma'am.
  13 that. I wouldn't say nothing. No. There --                 13    Q. Okay. Do you recall Dr. Bui saying that
  14 there's things that we would have done.                    14 he would have placed the external ventricular
  15    Q. Like what?                                           15 drains earlier if he had known that Mrs. Orr was
  16    A. I think intubation would have been the               16 not anticoagulated?
  17 first thing, I think protecting her, managing her          17    A. I don't remember the specifics. I -- I
  18 blood pressure. I think those would have been the          18 know that he had -- and again, I'm not trying to
  19 -- the first two things. And I would have called           19 -- my impression is he definitely pressed the
  20 the neurosurgeon to get their thoughts --                  20 pause button because of his concerns regarding
  21    Q. And --                                               21 that. I don't know if he would have, with regard
  22    A. -- and their -- I would have deferred to             22 to if the patient wasn't on Xarelto, proceeded
  23 them in terms of the acute management.                     23 immediately or waited. I don't remember that
  24    Q. And -- and that's because the neurosurgeon           24 part. But I do know that he considered that in
  25 would have the -- the clinical experience and --           25 his thought process when making a decision to


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   1 defer.                                             1     rather see the neuro -- if this was the
   2   Q. And what do you mean by press the -- the      2     neurosurgical resident, I'd like to see
   3 pause button?                                      3     the neurosurgical attending. If this was
   4   A. Wait, not place the drain --                  4     -- I don't think this is the neurosurgical
   5   Q. Okay. So --                                   5     staff or resident because they're saying
   6   A. -- emergently or immediately.                 6     neurosurgery, so they're referring to
   7   Q. All right. So delay placing the EVDs          7     another person. So he's basically stating
   8 until Xarelto had -- in his perspective had        8     his thoughts on this.
   9 passed?                                            9        He also doesn't -- I -- I -- my sense
  10   A. I don't --                                   10     -- and I don't know Dr. Khursheed, and I'm
  11       MR. IRWIN:                                  11     not impugning. But he's misspelling the
  12         Object to form.                           12     word "Xarelto." And I think that's
  13       THE WITNESS:                                13     happened a couple times. That's not the
  14         I think -- so the decision was made to    14     first time I saw that.
  15       delay. And I think that was part of the     15        So again, I'm not going to -- I -- if
  16       decision. I -- I don't know that that was   16     I were reviewing a chart of the patient
  17       the only part of the decision at the time.  17     and the history, I wouldn't take this and
  18       That's -- that's my impression.             18     use that to say, Okay, Neurosurgery's not
  19 BY MS. JEFFCOTT:                                  19     doing this because of this. I would -- I
  20   Q. And, Doctor, what I'm marking as             20     would speak to the neurosurgeons.
  21 Exhibit 13 is a note by Dr. Khursheed at the very 21 BY MS. JEFFCOTT:
  22 top.                                              22   Q. And I guess what would the indication of
  23       (Exhibit No. 13 was marked for              23 somebody misspelling a word mean to you in a -- in
  24       identification and attached hereto.)        24 a medical record?
  25 BY MS. JEFFCOTT:                                  25   A. And it -- it's hard to judge. I just -- I
                                             Page 103                                              Page 105
   1    Q. Do you see that?                             1 -- it -- it's not fair to judge because, again, I
   2    A. Yes, ma'am.                                  2 have -- the context of looking there. And he may
   3    Q. Okay. If you wouldn't -- take -- take a      3 be at 2:00 in the morning -- 3:40 in the morning
   4 minute just to read that. And, Doctor, are --      4 he's writing. So it's hard to judge. So I don't
   5 are -- let me know when you're ready to proceed.   5 want to put it in context. I -- I'm not -- I
   6    A. Okay. Okay.                                  6 don't want to say anything about his knowledge or
   7    Q. And, Doctor, based on your reading of this   7 not knowledge of --
   8 note, would it indicate to you that in fact they   8    Q. So --
   9 had delayed neurosurgical intervention because of 9     A. -- that. I'll -- I'll take that part
  10 Mrs. Orr's Xarelto or the question of Mrs. Orr's  10 back.
  11 Xarelto?                                          11    Q. Okay.
  12       MR. IRWIN:                                  12    A. It's 3:45 in the --
  13          Object to the form of the question.      13    Q. So --
  14       You may answer.                             14    A. -- morning. I'm going to give him a
  15       THE WITNESS:                                15 break.
  16          I'm not willing to -- to make that       16    Q. The fact that he -- he misspelled a word
  17       statement because of the context of the     17 doesn't detract from the --
  18       note. I believe Dr. Khursheed is a          18    A. I think I saw it somewhere else, though.
  19       resident -- was a resident at this time.    19 That was kind of bugging me when I saw it
  20       What was his status? I believe he was a     20 somewhere else too. But I -- I'm --
  21       resident. I don't know if he was working    21    Q. It --
  22       on the neurosurgical service. And he --     22    A. -- not willing to --
  23       sometimes people from other services -- so 23     Q. It happens a lot. You'd be surprised.
  24       he's making a statement about the thoughts 24     A. Yeah. And so to me, you know, if
  25       of neurosurgery on this. And so I'd         25 someone's familiar with the medication and the --

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   1 the intricacies, spelling -- and a one-time          1  Q. Okay.
   2 spelling at 3:00, 4:00, 5:00 in the morning, fine.  2   A. A while ago.
   3 But if -- again, I'm not -- I'm not willing         3   Q. Fair enough.
   4 to . . .                                            4       He stated in his deposition that he -- if
   5    Q. And if you look underneath, it's -- the --    5 he had known that Mrs. Orr was not anticoagulated,
   6 the -- the type is very light. It says,             6 that he would have placed the EVDs earlier.
   7 "Electronically signed by Elizabeth B. Mahanna,     7       Do you --
   8 MD."                                                8    A. I don't remember that specific statement.
   9    A. Yes, ma'am.                                   9   Q. Okay.
  10    Q. Do you --                                    10   A. I'm happy to -- I don't remember that
  11    A. The neurointensivist.                        11 specific statement.
  12    Q. And -- and you recall she was the            12   Q. Okay. And are you familiar with the
  13 attending on this case; is that correct?           13 phrase "time equals brain"?
  14    A. She was one of the attendings. The -- the    14   A. I am. I'm --
  15 admitting attending I believe is the               15   Q. Okay.
  16 neurointensivist.                                  16   A. -- also -- it -- and my -- because we use
  17    Q. And -- and to your recollection, was she     17 that for heart: Time equals myocardium.
  18 part of the neurocritical care team?               18 Generally that's more for ischemic, where you're
  19    A. That's my recollection.                      19 having problems with blood flow getting there. I
  20    Q. And -- and indicated by this light type      20 don't know that that correlates with bleeds in a
  21 that she signed off on Dr. Khursheed's addendum; 21 similar manner. I think when -- I've heard the
  22 is that correct?                                   22 neurologists use it. They are using it in a
  23    A. She did.                                     23 similar manner that we are. So if someone has an
  24    Q. Okay. And that -- at least by virtue of      24 acute stroke and they're having an ischemic event,
  25 what Dr. Khursheed wrote, they had to explain -- 25 the longer you wait to give TPA or relieve the

                                             Page 107                                               Page 109
   1 "they" being Dr. Khursheed, had to explain to the    1 blockage, the more damage that's being done. So I
   2 family why neurosurgery could not proceed with       2 don't -- I don't -- it's not my impression that
   3 intervention?                                        3 that applies to a bleed --
   4      MR. IRWIN:                                      4   Q. Okay.
   5         Object to the form.                          5   A. -- time equals brain.
   6      THE WITNESS:                                    6   Q. Well, in his deposition Dr. Bui used the
   7         No. I -- I think they -- so he states        7 phrase time equals bleed to describe why he would
   8      neurosurgery says the patient is not a          8 have placed the EVDs earlier, and this is because
   9      candidate. That's what he's saying in           9 the longer that the brain is under pressure, the
  10      terms of what the neurosurgeon said. I         10 more cells -- the more that cells are likely to
  11      think the rest is him. I don't know that       11 die or become impaired.
  12      I would attribute the subsequent sentence      12       MR. IRWIN:
  13      to his thoughts on what the neurosurgeons      13          Object to the form --
  14      are saying, and not necessarily his            14 BY MS. JEFFCOTT:
  15      impression on that. I -- I do know he          15   Q. Does -- does --
  16      said neurosurgery said the patient is not      16       MR. IRWIN:
  17      a candidate for EVD. But after that, I         17          -- of the question.
  18      don't -- my impression from reading that       18 BY MS. JEFFCOTT:
  19      would not be necessarily that he was           19   Q. -- any of that recall --
  20      saying that the neurosurgeons were saying      20       MR. IRWIN:
  21      that. I think that was his impression.         21          I'm sorry. I didn't mean to interrupt
  22 BY MS. JEFFCOTT:                                    22       you.
  23    Q. Well, going back to Dr. Bui, did you read     23       MS. JEFFCOTT:
  24 his deposition?                                     24          That's --
  25    A. I did.                                        25       MR. IRWIN:

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   1         I thought you were done with your           1   Q. -- tell me at the end.
   2      question. I apologize.                        2       I have one reason, that she had
   3 BY MS. JEFFCOTT:                                   3 long-standing hypertension; that she had no
   4    Q. Does -- does that refresh your               4 history of prior bleeds on Xarelto despite
   5 recollection at all?                               5 concomitant use of aspirin; she was likely not on
   6      MR. IRWIN:                                    6 Xarelto at the time of the bleed because she
   7         Object to the form of the question.        7 either didn't take it or she vomited it up; and
   8      THE WITNESS:                                  8 that she was described -- prescribed prednisone on
   9         No. And, you know, I would -- I            9 April 14th, 2015, which was nine days before her
  10      wouldn't -- that's Dr. Bui's opinion and     10 bleed; and on April 16th, 2015, her blood pressure
  11      area of expertise. I'm not saying that.      11 was recorded as 200 over 90.
  12      I just -- my impression of time equals       12       Are there any other bases for your opinion
  13      brain is that that's more for ischemic       13 that Mrs. Orr's bleed was based on her
  14      than for bleeds.                             14 hypertension?
  15 BY MS. JEFFCOTT:                                  15       MR. IRWIN:
  16    Q. Okay. But you would defer to Dr. Bui in     16          Object to the form of the question.
  17 terms of his opinion that the EVD, if he could    17       You may answer.
  18 have, would have placed them as soon as possible? 18       THE WITNESS:
  19      MR. IRWIN:                                   19          It -- again, this is a clinical
  20         Object to the form of the question.       20       impression. I mean, so as a clinician,
  21      THE WITNESS:                                 21       you try to think about things logically,
  22         Yeah. That's -- that's switching --       22       in a temporal manner. Here's a lady who
  23      so I would absolutely defer to Dr. Bui as    23       -- so Xarelto -- and I know Ned --
  24      to the timing of the -- that's the           24       Mr. McWilliams and I talked about this at
  25      surgeon's call, not my call. The -- so       25       length last -- at the general . . . I --
                                             Page 111                                              Page 113
   1       the risks and benefits, no one's going to     1      it's my strong belief that Xarelto doesn't
   2       know better than the neurosurgeon. He        2       specifically cause bleeding. There is an
   3       wouldn't tell me when to intervene. I        3       underlying pathology involved that
   4       wouldn't tell him when to intervene.         4       increases the risk of bleeding.
   5       Absolutely.                                  5           And if you look at this history, the
   6 BY MS. JEFFCOTT:                                   6       -- the -- the lady, Miss Orr, she was
   7    Q. And if you would turn to the next page -- 7          previously on 20 milligrams of Xarelto,
   8 the last page of your report. That's a good sign. 8        on -- and an aspirin, resulting in a
   9 Oh, it's the second-to-the-last page. I'm --       9       higher exposure, higher risk of bleeding
  10       MR. IRWIN:                                  10       at that time acutely, and had -- had no
  11          That is a good sign.                     11       bleed. Okay. And then temporally, you
  12 BY MS. JEFFCOTT:                                  12       have someone who is given the medication
  13    Q. -- sorry.                                   13       that's known to increase the blood
  14    A. The second-to-last -- the --                14       pressure in someone who already
  15    Q. Yeah.                                       15       has difficult-to-control hypertension.
  16    A. So SO's ICH was Most Likely Related, is 16           Blood pressure is at a severely elevated
  17 that where we are?                                17       rate, comes in with a bleed. It's hard
  18    Q. You got it.                                 18       for me not to attribute -- to me,
  19    A. Okay. Yes.                                  19       clinically, it just -- that's the most
  20    Q. From reading your report, it -- it seems    20       likely thing.
  21 like the basis for your opinion that Mrs. Orr's   21           And I understand -- and again, I'm not
  22 bleed was related to her chronic hypertension is 22        a neurosurgeon. But looking at this from
  23 for a few reasons. And I'm going to list a few    23       the sky and having all this data, it's --
  24 off. If I miss any, just --                       24       to me it makes sense. Clinically, that --
  25    A. Sure.                                       25       we're always looking for likely scenarios.

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   1      And it's hard to argue the temporal events       1         Doing okay? I'm slowing . . .
   2      in this one.                                     2 BY MS. JEFFCOTT:
   3         Especially -- again, I don't believe          3    Q. And -- and can you say to a reasonable
   4      Xarelto directly causes bleeds. There has        4 degree of medical certainty that Xarelto did not
   5      to be an underlying etiology, and I think        5 exacerbate Mrs. Orr's bleed?
   6      you have a smoking gun right here.               6    A. No. I think anticoagulants in general
   7 BY MS. JEFFCOTT:                                      7 would have exacerbated her bleed. I think on
   8    Q. Well, I think -- and you -- and you             8 warfarin we would have seen a similar outcome.
   9 mentioned that -- that your belief that Xarelto --    9    Q. But in warfarin, the risk of an
  10 well, strike that.                                   10 intracranial hemorrhage can be minimized by
  11    A. You're going to do this too?                   11 keeping their INR in range; correct?
  12    Q. Not nearly as much as Ned, I promise.          12      MR. IRWIN:
  13    A. Okay.                                          13         Objection.
  14    Q. But you would agree that uncontrolled          14      THE WITNESS:
  15 hypertension can create a pathology that             15         I think that the patient remains at
  16 predisposes a person to bleeding?                    16      risk for a bleed with an INR in range. So
  17    A. I think uncontrolled hypertension can          17      just because your INR is in range doesn't
  18 result in bleeding.                                  18      mean that they're not at risk for bleeding
  19    Q. Okay. And -- but it creates a pathology        19      still. The risk is higher the higher you
  20 where it -- it creates the risk? I think we're       20      go with the warfarin. But someone could
  21 saying the same thing.                               21      have a bleed with an INR of 1.5. So I
  22      MR. IRWIN:                                      22      think anticoagulants in general could --
  23         Object to the form.                          23      not the risk. We were talking about the
  24      THE WITNESS:                                    24      extent. I think we were talking about
  25         So -- yeah. I -- I'm not really sure.        25      extent of bleed?
                                              Page 115                                              Page 117
   1 BY MS. JEFFCOTT:                                      1   MS. JEFFCOTT:
   2    Q. Well --                                      2         Exacerbating.
   3    A. Uncontrolled hypertension is a risk factor   3      THE WITNESS:
   4 for -- for bleed.                                  4         Yeah, extent of bleeding, it
   5    Q. And for someone that is predisposed to       5      worsening.
   6 bleeds, Xarelto increases that risk of bleeding,   6         So I don't -- I think any warfarin
   7 in your opinion?                                   7      would have increased her risk, the extent
   8    A. I think all anticoagulants can increase      8      potentially. Not if she had an INR of 1.
   9 the risk of bleeding.                              9      If she had an INR of 1, then she's not
  10    Q. And -- I mean, and likewise, because the    10      getting any warfarin effect.
  11 purpose of Xarelto is to, you know, interrupt the 11 BY MS. JEFFCOTT:
  12 clotting cascade, Xarelto can likewise exacerbate 12   Q. Would you agree that a patient is still
  13 a bleed?                                          13 getting a significant anticoagulant effect from
  14       MR. IRWIN:                                  14 Xarelto even after 24 hours?
  15          Object to the form of the question.      15      MR. IRWIN:
  16       You may answer.                             16         Object to the form of the question.
  17       THE WITNESS:                                17      THE WITNESS:
  18          Can Xarelto exacerblate [sic] a bleed,   18         I don't know the degree and whether to
  19       make a small bleed a larger bleed? Yes.     19      characterize it as significant or not. I
  20 BY MS. JEFFCOTT:                                  20      know a trough level, as discussed last
  21    Q. Make any bleed a larger bleed?              21      week and in my report, there's still
  22    A. Make a larger bleed an even larger bleed?   22      significant anticoagulant effect. That's
  23 Yes.                                              23      just prior. So I don't know after that
  24    Q. Okay. And . . .                             24      how it -- the characteristics are.
  25       THE WITNESS:                                25 BY MS. JEFFCOTT:


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   1    Q. So in your report, where you discuss that       1    A. We could pull up the paper and we could
   2 there's a significant anticoagulant effect at         2 look at the -- the -- the way it levels out.
   3 trough, how would you define "significant" in that    3    Q. And really what I'm -- what I'm -- I think
   4 context?                                              4 I'm getting to is that -- in the -- the preceding
   5      MR. IRWIN:                                       5 -- let's see.
   6         Object to the form of the question.           6       If you go a little further down, you talk
   7      THE WITNESS:                                     7 about 0.17 micrograms per liter in terms of
   8         I guess I don't understand the                8 circulating plasma concentration?
   9      question.                                        9    A. Yes, ma'am. Uh-huh.
  10 BY MS. JEFFCOTT:                                     10    Q. So at that point -- because that's --
  11    Q. So if you would turn to your generic           11 would exist at 24 hours. Anything above
  12 report, which is -- I don't know which exhibit.      12 0.17 micrograms per liter is considered
  13    A. Okay.                                          13 significant. Do I understand that correctly?
  14      MR. IRWIN:                                      14    A. I -- I think that's a reasonable
  15         I object to going to the generic             15 statement.
  16      report.                                         16    Q. And you would defer to a pharmacologist
  17      THE WITNESS:                                    17 how long the average patient has more than
  18         You did what he did last week. You           18 17 micrograms per liter in their blood?
  19      promised you weren't going back.                19       MR. McWILLIAMS:
  20 BY MS. JEFFCOTT:                                     20           0.17.
  21    Q. Almost done, I promise. If you would go        21 BY MS. JEFFCOTT:
  22 to Page 29.                                          22    Q. 0.17 micrograms.
  23    A. It's so much better when you label the         23    A. One more time. I would probably would
  24 numbers.                                             24 defer, but --
  25      MR. IRWIN:                                      25    Q. Yeah.
                                              Page 119                                               Page 121
   1           It is. It is, indeed.                       1    A. -- let me hear it again.
   2        THE WITNESS:                                   2    Q. You would defer to a pharmacologist to
   3           Point taken. Okay.                          3 assess whether or not a patient has more than
   4 BY MS. JEFFCOTT:                                      4 0.17 micrograms per liter in --
   5    Q. Okay. And you state, "Thus, at 24 hours,        5    A. After that?
   6 one is still getting significant" anticoagulate --    6    Q. -- in a patient's blood? Yeah.
   7 had -- let me start over.                             7    A. I -- I -- I'm sorry. I interrupted, and I
   8        ". . . at 24 hours, one is still getting       8 lost it.
   9 significant anticoagulant effect with Xarelto."       9    Q. Okay. You would agree -- you would defer
  10    A. Yes. Okay.                                     10 to a pharmacologist to assess whether or not a
  11    Q. Did I read that correctly?                     11 patient has more -- okay. Let's start over.
  12    A. Yes, ma'am.                                    12    A. Sorry.
  13    Q. And so you would agree that after 24 hours     13    Q. You would defer to a pharmacologist to
  14 a patient is still receiving the anticoagulant       14 determine how long the average patient has more
  15 effects of Xarelto?                                  15 than 7 -- 0.17 micrograms per liter in their
  16    A. I -- I don't know. That's what I'm             16 blood?
  17 saying, is these were levels at 24. I don't know     17    A. Yes, ma'am.
  18 going past 24. It could taper down quickly. I        18    Q. Okay. Sorry.
  19 haven't -- I don't remember from the article what    19       MR. IRWIN:
  20 happens after 24 hours. So this is at 24 hours.      20          Doctor, do you want to take a break,
  21 I -- I -- I feel comfortable making that             21       or you -- keep --
  22 statement. But after, I don't -- it could taper      22       THE WITNESS:
  23 quickly. It could stay at that label -- level for    23          I'm okay.
  24 a while.                                             24       MR. IRWIN:
  25    Q. Well, it --                                    25          -- keep going?

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   1       THE WITNESS:                                      1Q.  One  of  the -- one of your opinions   is that
   2          I'm --                                     2 the fact that Mrs. Horr didn't -- Mrs. Orr didn't
   3       MR. IRWIN:                                    3 have a history of prior bleeds is in -- is a
   4          Okay. All right. Those pharmacology        4 factor in -- in why you believe it -- her bleed
   5       questions . . .                               5 was -- her intracranial bleed was related to
   6       MS. JEFFCOTT:                                 6 hypertension?
   7          They're tongue-twisters, man.              7    A. I -- I -- I'm not saying -- that is not
   8 BY MS. JEFFCOTT:                                    8 something I would use. I'm just trying to put
   9    Q. And you would agree that the length of        9 this in the clinical context, temporally what
  10 time is longer in renally impaired patients?       10 happened with her. So I'm -- I -- I don't
  11    A. The length of time . . .                     11 uniformly say a prior lack of bleed predicts
  12    Q. In terms of -- the anticoagulant effect of   12 something down the road. I'm just -- I was
  13 Xarelto is extended for renally impaired patients. 13 looking at the -- we had the benefit of hindsight,
  14    A. I'm not going to comment on the              14 and we have a timeline here. And so I was just
  15 characteristics after a 24-hour period in -- in -- 15 looking in general. But I wouldn't say that I see
  16 in that regard.                                    16 someone who has no history of bleed that they're
  17    Q. You would agree that as renal -- as renal    17 not going to bleed going forward.
  18 function decreases, the half-life also increases   18    Q. And -- so like there's not any literature
  19 in terms of Xarelto?                               19 or support from ROCKET that would say that after X
  20       MR. IRWIN:                                   20 amount of months the -- the -- the -- the risk of
  21          Object to the form of the question.       21 bleeding goes down for a patient on Xarelto?
  22       THE WITNESS:                                 22    A. I -- that's an interesting question. So I
  23          Yes.                                      23 -- the answer is no. There is no data. I'm --
  24       MS. JEFFCOTT:                                24 I'm just thinking about that question, whether
  25          Can we take a break? I'm almost done,     25 that should be something that should be looked at.

                                                 Page 123                                                    Page 125
   1      I think.                                           1 I think that's an interesting -- that's an
   2      MR. IRWIN:                                         2 interesting clinical question.
   3         Sure.                                           3    Q. I got my -- my second career lined up.
   4      MS. JEFFCOTT:                                      4       When you're looking at the -- the --
   5         I just want to make sure --                     5 the -- the data from ROCKET, would you expect that
   6      THE WITNESS:                                       6 warfarin-related intracranial hemorrhages would be
   7         Sure.                                           7 consistent throughout all regions where the study
   8      MR. IRWIN:                                         8 was conducted, all geographical regions?
   9         Yep.                                            9    A. I'm not -- so . . .
  10      MS. JEFFCOTT:                                     10    Q. Would -- would you expect in ROCKET that
  11         -- Ned's not --                                11 the data would have showed that the -- the
  12      THE VIDEOGRAPHER:                                 12 presence of intracranial hemorrhages would have
  13         The time now is 11:01 --                       13 been consistent in the various geographic regions
  14      MS. JEFFCOTT:                                     14 where the study was conducted?
  15         -- doesn't want . . .                          15    A. I'm -- I see no reason for variation based
  16      THE VIDEOGRAPHER:                                 16 on geography.
  17         -- a.m. We are off the record.                 17    Q. And -- and would you find it peculiar that
  18      (Brief recess was taken.)                         18 in East Asia, which represented only 6.5 percent
  19      THE VIDEOGRAPHER:                                 19 of patients enrolled in ROCKET, that patients
  20         The time now is 11:16 a.m. We are              20 there had a 3.9-fold increased risk of
  21      back on the record.                               21 intracranial hemorrhage?
  22 BY MS. JEFFCOTT:                                       22       MR. IRWIN:
  23   Q. Doctor, I -- I -- I don't have too much           23          Object to the form.
  24 longer. I --                                           24 BY MS. JEFFCOTT:
  25   A. We'll see.                                        25    Q. Compared -- and compared to the rest of

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   1 the world.                                               1    A. Okay.
   2    A. I would -- do I find that peculiar? I              2    Q. -- of subgroups is to evaluate that
   3 take -- again, we talked about subgroup analysis         3 amongst all of the prespecified --
   4 in the past. And I'm always wary. And you have           4    A. I -- you know --
   5 to interpret subgroup analysis with caution. And         5    Q. -- geographical regions in ROCKET?
   6 this is another example. So I would -- I would           6    A. I -- I -- I am not sure I would use the
   7 consider and -- and review the data. I'm not sure        7 word "value" for -- for the prespecification of
   8 -- it's hard to say how much stock I would put           8 geography on this. I under -- so it was studied.
   9 into that without having a good reason for a             9 But I'm not sure I would use the word "value,"
  10 difference.                                             10 because I -- I -- I -- yeah. I'm -- I'm not
  11    Q. And -- and you would agree that one               11 comfortable with that.
  12 purpose of subgroup analysis is to evaluate             12    Q. Would you agree that it's -- it's at least
  13 consistency among -- among the various subgroups?       13 used to evaluate?
  14    A. I think there are different reasons to            14    A. It's looked at.
  15 look at subgroup analysis, one of which is              15    Q. Okay.
  16 consistency amongst different groups. Yes.              16    A. Yeah. So the -- yes. It's looked at.
  17    Q. And where you have a prespecified set of          17    Q. And then are you aware of any literature
  18 groups, which in -- in this case with the               18 that's critical of the East Asian clinical trial
  19 geographical regions, it would be an indicator of       19 sites?
  20 inconsistency where one geographic -- one specific      20       MR. IRWIN:
  21 region has a marked increase of a given adverse         21          Object to the form.
  22 event?                                                  22       THE WITNESS:
  23    A. Gosh, that's a -- that's a twisty                 23          Am I aware of any literature that is
  24 sentence. Let me think about that. Would I agree        24       critical of any studies that are performed
  25 that a variation in the geographical patterns --        25       in --
                                                 Page 127                                              Page 129
   1 I'm sorry.                                          1 BY MS. JEFFCOTT:
   2    Q. Let me break --                               2    Q. In East Asia, the clinical trial sites.
   3    A. Yeah. Let me --                               3    A. I -- I have nothing that comes to my mind
   4    Q. -- it down. I mean -- it's a bad              4 that specifically says that literature [sic]
   5 question.                                           5 conducted in East Asia is of less clinical value.
   6       And so what I'm trying to -- since --         6 I think you have to look at each individual
   7 consistency, as you said, is -- is one of the --    7 situation.
   8 the things that subgroup analysis can look at, to   8    Q. But are you aware that it's at least a
   9 establish consistency among the various subgroups? 9 controversial subject, that more and more clinical
  10       MR. IRWIN:                                   10 trials are -- are being conducted abroad?
  11          Object to --                              11    A. I'm aware that there are concerns that
  12 BY MS. JEFFCOTT:                                   12 have been brought up.
  13    Q. Did I state that correctly?                  13       MS. JEFFCOTT:
  14       MR. IRWIN:                                   14          That's all the questions I have.
  15          Object to the form.                       15       MR. IRWIN:
  16       THE WITNESS:                                 16          Doctor, I just have one or two.
  17          Yeah. I don't -- I don't think of --      17 BY MR. IRWIN:
  18       I'm not sure I'm understanding what you're   18    Q. Remember you were asked earlier some
  19       saying with subgroup -- the value of         19 questions about Mrs. Orr's creatinine clearance
  20       subgroup analyses. The consistency across    20 levels and you were shown some lab studies with
  21       groups, I -- I -- I don't under -- you're    21 her GFRs? Do you recall that?
  22       studying the heterogeneity of the effect?    22    A. I do.
  23       Is that what you're asking?                  23    Q. Some of those were in the time frame of
  24 BY MS. JEFFCOTT:                                   24 late 2014, maybe one in early 2015. Do you recall
  25    Q. That's right. And so one value --            25 that?


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   1   A. (Nods head.)                                     1    A. I do.
   2   Q. Do you --                                        2    Q. "So I wouldn't have recommended to him" --
   3   A. Yes. I do. I'm --                                3 meaning Dr. St. Martin, "I wouldn't have
   4   Q. Yes?                                             4 recommended to him, if he had asked, to stop the
   5   A. -- sorry. I --                                   5 drug at that time."
   6   Q. And you --                                       6      Do you agree with that?
   7   A. I'm not --                                       7    A. I do.
   8   Q. -- recall those questions involving her          8    Q. "If it had slipped further, and I don't
   9 nephrologist, a Dr. Cruz?                             9 know that -- maybe it did and I missed it, but if
  10   A. Yes, sir.                                       10 it had slipped further, then I would have
  11   Q. Have you ever had an opportunity to read        11 recommended that he stop the drug."
  12 Dr. Cruz's deposition?                               12      Do you agree with that?
  13   A. I don't, to my recollection, recall that.       13    A. I do.
  14   Q. Let me read you from his deposition             14    Q. Do you think that this testimony from
  15 Page 94, starting on Page 93, at Line --             15 Dr. Cruz in his deposition adds clarity to the lab
  16      MR. McWILLIAMS:                                 16 reports that you were shown earlier?
  17        You're going to read him a document           17      MR. McWILLIAMS:
  18      without showing it to him?                      18         Object to the form.
  19      MR. IRWIN:                                      19      MS. JEFFCOTT:
  20        Yeah. Do you want to see it?                  20         Object to --
  21      MR. McWILLIAMS:                                 21      MR. McWILLIAMS:
  22        On the computer?                              22         Leading.
  23      MR. IRWIN:                                      23      THE WITNESS:
  24        Oh.                                           24         I do.
  25      MR. McWILLIAMS:                                 25 BY MR. IRWIN:

                                               Page 131                                                  Page 133
   1         I'll let -- I was --                          1 Q.  And   why  -- why do you  believe that it
   2      MR. IRWIN:                                    2 does?
   3         Oh.                                        3    A. Well, I think it validates -- his
   4      MR. McWILLIAMS:                               4 impression was similar, that the patient's overall
   5         -- giving you an opportunity to print      5 renal function warranted the utilization of
   6      it. I'm just kidding.                         6 15 milligrams daily, which was my impression from
   7      MR. IRWIN:                                    7 reading the charts.
   8         That's a -- that's a good objection.       8    Q. And how does it affect your impression one
   9 BY MR. IRWIN:                                      9 way or the other about whether or not her GF --
  10    Q. Here's the question, Page 93, Line 23.      10 her GFR or her creatinine clearance was
  11 Question: "But to follow" up -- "to follow that   11 appropriate for the 15-milligram dose or
  12 one step further, do you have any criticisms of   12 inappropriate --
  13 Dr. St. Martin for prescribing Xarelto to         13       MS. JEFFCOTT:
  14 Mrs. Orr?"                                        14         Object to the form.
  15      Answer: "No." This is Dr. Cruz. "The --      15 BY MR. IRWIN:
  16 from my understanding of the dosing of Xarelto is 16    Q. -- for the 15-milligram dose?
  17 a GFR above 30, 30 to 50, use the dose of 15."    17    A. It -- it --
  18      Do you agree with that, Doctor?              18       MS. JEFFCOTT:
  19    A. I do.                                       19         I'm sorry.
  20    Q. And then the next sentence says, ". . .     20       THE WITNESS:
  21 although she was in Stage 4, which is GFR less    21         -- doesn't change my overall
  22 than 30, she was always in the high end of that,  22       impression, which again was that the
  23 meaning 27, 28, so that is pretty much 30 in my   23       15-milligram dose was appropriate for
  24 book."                                            24       Miss Orr.
  25      Do you agree with that, Doctor?              25       MR. IRWIN:

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   1          Those are all the questions that I          1    A. And I would also -- you know, that --
   2       have. Thank you very much.                     2 that's not the FDA's take. They're saying 15 to
   3       MS. JEFFCOTT:                                  3 30 is okay. I don't -- again, since that wasn't
   4          Take a break.                               4 studied, I wouldn't use that data.
   5       THE WITNESS:                                   5    Q. But -- and again -- and so here's Dr. Cruz
   6          Okay.                                       6 stating that Mrs. Orr was consistently below 30 --
   7       THE VIDEOGRAPHER:                              7       MR. IRWIN:
   8          The time now is 11:26 a.m. We are off       8          Object to the form of the question.
   9       the record.                                    9       THE WITNESS:
  10       (Brief recess was taken.)                     10          He was --
  11       THE VIDEOGRAPHER:                             11 BY MS. JEFFCOTT:
  12          The time now is 11:29 a.m. We are          12    Q. And --
  13       back on the record.                           13    A. I'm sorry.
  14 BY MS. JEFFCOTT:                                    14    Q. -- yet that was 30 in his book.
  15    Q. So, Doctor, before we took a brief break,     15       But Doctor, you would agree that that is
  16 Mr. Irwin read you testimony from -- from           16 still below 30?
  17 Dr. Cruz, Mrs. Orr's nephrologist.                  17       MR. IRWIN:
  18       Had you previously seen that testimony        18          Object to the form of the question.
  19 before?                                             19       THE WITNESS:
  20    A. Not to my recollection. Again, I reviewed     20          His impression was that it was over
  21 a lot of depositions. It didn't refresh my          21       30. That was -- my take-away is his
  22 memory.                                             22       clinical context was over 30. That's --
  23    Q. So in the testimony that Mr. Irwin read to    23       that -- again, I -- I don't have -- we can
  24 you, Mr. Cruz -- Dr. Cruz -- excuse me -- stated    24       pull up the deposition. But my impression
  25 that Mrs. Orr's GFR had -- had always been at the   25       from what was read to me was that his
                                             Page 135                                                Page 137
   1 high end of under 30, meaning that it was always     1     gestalt was that the patient was over 30,
   2 27, 28, somewhere around there.                     2      that the numbers were under -- just under,
   3       Well, Doctor, would you agree that that's     3      but that he thought that the patient was
   4 below 30?                                           4      gestalt over 30.
   5       MR. IRWIN:                                    5 BY MS. JEFFCOTT:
   6          Object to the form.                        6   Q. What -- I'll read to you what he said.
   7       THE WITNESS:                                  7   A. Okay.
   8          And again, my general impression from      8   Q. ". . . although she was in Stage 4, which
   9       reading her lab work before all this was      9 was GFR of less than 30, she was always in the
  10       that her creatinine clearance was just       10 high end of that, meaning 27, 28."
  11       north of 30.                                 11   A. I get you.
  12 BY MS. JEFFCOTT:                                   12   Q. Okay. So --
  13   Q. Right. And --                                 13      MR. IRWIN:
  14   A. So I -- I -- so those numbers are below       14        You want to read the rest of the
  15 30, what he's quoting. I --                        15      quote, where --
  16   Q. Yeah.                                         16 BY MS. JEFFCOTT:
  17   A. -- think that his impression of it being      17   Q. So in your --
  18 over 30 -- that he's giving his clinical           18      MR. IRWIN:
  19 impression on that.                                19        -- he says, "30 in my book"?
  20   Q. But you gave the testimony earlier today      20 BY MS. JEFFCOTT:
  21 that if a patient -- if you saw a patient that was 21   Q. So --
  22 consistently below 30, that you would take that    22      MR. IRWIN:
  23 patient off of Xarelto. So -- is that correct?     23        I'm just saying.
  24   A. It is correct.                                24      MR. McWILLIAMS:
  25   Q. Okay.                                         25        I hope he's not a math teacher.

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   1       MR. IRWIN:                                      1       No. Wait. Wait. That -- that's his
   2         Okay.                                       2     answer.
   3 BY MS. JEFFCOTT:                                    3     THE WITNESS:
   4    Q. So following your prior testimony, which      4         No. And I have more to say.
   5 you stated if -- if your patient is consistently    5         So he's saying -- it's hard to
   6 below 40 [sic], would you have considered           6     interpret his rationale for saying that.
   7 Mrs. Orr's GFR scores to be consistently under 30? 7      Ultimately he's recommending the
   8    A. My review of her lab work in the totality     8     15-milligram. Maybe he thinks that the
   9 of her care, I would have used the 15-milligram     9     27, 28 was a couple and generally his
  10 dosing of Xarelto. I feel comfortable on this.     10     feeling is it's over 30. He doesn't say
  11 I'm not going to -- to the rationale for what      11     it that way. I don't know what he's
  12 Dr. Cruz is saying or not saying. That's           12     trying to say. I just know what his final
  13 Dr. Cruz's opinion. This doesn't -- doesn't --     13     recommendations were. His final
  14 again, it doesn't change my opinion. My            14     recommendations were he was comfortable
  15 impression from reviewing this was I -- so I'm     15     with the 15-milligram dosing.
  16 seeing her in a clinical context, I would have     16         I can't -- I'm not going to opine as
  17 used the 15-milligram dosing.                      17     to his rationale and his specific -- you
  18    Q. So you're saying if -- if Dr. -- if -- if    18     know, so my -- my comment was it just
  19 Dr. Cruz is correct about Mrs. Orr's kidney        19     validates what my impression was. I would
  20 function, that she was consistently at 27, 28,     20     have used the 15-milligram dosing on -- on
  21 that in your opinion -- would it be your opinion   21     Miss Orr.
  22 that she should not have been on Xarelto?          22 BY MS. JEFFCOTT:
  23       MR. IRWIN:                                   23   Q. And, Doctor, do you think cutoffs are
  24         Object to the form of the question.        24 important in terms of -- in specific ranges? I
  25       THE WITNESS:                                 25 mean, we -- we talked about -- or you and Ned

                                              Page 139                                              Page 141
   1          I'm not comfortable commenting on the        1 rather talked about in your last deposition
   2      rationale that Dr. Cruz would warrant --         2 regarding the chance findings and p-values.
   3      would use to recommend or -- against or          3    A. Uh-huh. I'm still -- about that, aspirin
   4      for. That's his -- I -- again, my                4 PT, .06 --
   5      impression from reviewing her -- her lab         5    Q. Well --
   6      work was I would have been comfortable           6    A. -- but --
   7      using the Xarelto 15 milligrams. I -- and        7    Q. -- I mean --
   8      it wasn't a -- that -- that's my clinical        8    A. -- anyways . . .
   9      impression.                                      9    Q. -- do you agree there -- there exists
  10 BY MS. JEFFCOTT:                                     10 cutoffs for a reason?
  11    Q. I'm not asking you to agree with               11    A. Yes, ma'am.
  12 Dr. Cruz's --                                        12    Q. Okay.
  13    A. Okay.                                          13    A. I --
  14    Q. -- prescription or -- or Dr. Cruz's            14    Q. And --
  15 assessment. What I'm asking --                       15    A. I agree.
  16    A. Sure.                                          16    Q. And -- and earlier in your depo -- in your
  17    Q. -- you to do -- if -- if Dr. Cruz, as he       17 testimony today, you indicated that 30 was a
  18 states, that Mrs. Orr's creatinine clearance was     18 cutoff, GFR of 30; is that correct?
  19 27, 28, would you have taken Mrs. Orr off Xarelto?   19    A. Yes, ma'am.
  20    A. If he had recommended to take the patient      20    Q. Okay. And that if you had a patient with
  21 off Xarelto, I would have taken the patient off      21 a -- with a consistent GFR of less than 30, that
  22 Xarelto. So he's -- again, it's hard to --           22 you would not have that patient on Xarelto; is
  23    Q. That's different than the question I'm         23 that correct?
  24 asking.                                              24    A. Yes, ma'am.
  25      MR. IRWIN:                                      25    Q. Now -- and Dr. Cruz mentioned in I think

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   1 the -- the testimony that Mr. Irwin quoted you,       1 Q. -- was Stage 4 less than 30 GFR?
   2 that if -- I'll just read it so I don't mess it    2       MR. IRWIN:
   3 up. But it says, If Mrs. Orr's GFR "had slipped    3          Object to the form of the question.
   4 further, and" -- "and I don't" -- "and I don't     4       THE WITNESS:
   5 know that -- maybe it did and I missed it, but if  5          I think that there was more said in
   6 it had slipped further . . . I would have          6       terms of what his impressions were.
   7 recommended that he stop the drug."                7       Again, I -- I think you have to think
   8       And so if -- if -- in your opinion, if       8       about his clinical impression, not his
   9 Mrs. Orr's GFR had slipped below 27, 28, would it  9       rationale for his decision in that regard.
  10 now be your opinion that she should not have been 10       His clinical impression was to use the 15
  11 on the drug?                                      11       in -- milligram daily dosing. My
  12       MR. IRWIN:                                  12       impression, my clinical impression from
  13          Object to the form.                      13       the context of all the reports that I
  14       THE WITNESS:                                14       reviewed and -- and -- and my experience,
  15          You know, again, I keep stating that     15       I would have used the 15-milligram dosing.
  16       my -- I would have used the 15-milligram    16       There's nothing he's saying here that
  17       dosing. I'm not going to take his           17       would make me feel otherwise.
  18       rationale for why he was okay with it and   18 BY MS. JEFFCOTT:
  19       use it to come to a separate conclusion.    19    Q. And just -- but to be clear for -- in --
  20       Ultimately the nephrologist felt that the   20 in terms of your practice, you would not put a
  21       15-milligram dosing was okay. My            21 patient on Xarelto who had a creatinine clearance
  22       impression was that she was generally       22 less than 30?
  23       above 30. He has a gestalt of that or       23    A. If their creatinine clearance was
  24       however. He says it's 30s or whatever.      24 consistently less than 30, I would -- I would feel
  25       I'm not getting into what his opinions and  25 uncomfortable with it.

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   1      his rationale -- I don't -- that's not my        1    Q. And so you would take -- if -- if you had
   2      -- that's not appropriate for me, to be          2 a patient that was -- had a creatinine clearance
   3      making comments on --                            3 or GFR of less than 30 --
   4      MS. JEFFCOTT:                                    4    A. Not once.
   5         Right.                                        5    Q. -- consistently --
   6      THE WITNESS:                                     6    A. Consistent -- chronically. Yes.
   7         -- that. But I'm not going to apply           7    Q. I'll start over.
   8      that.                                            8      So if you had a patient that was --
   9         Again, I -- I look at this -- I see a         9 consistently had a GFR that was less than 30 or a
  10      patient like this. I'm using the --             10 creatinine clearance that was less than 30, you
  11      the -- the 15-milligram dosing.                 11 would take that patient off of Xarelto; is that
  12 BY MS. JEFFCOTT:                                     12 correct?
  13    Q. Okay. And -- and just so -- to clarify         13      MR. IRWIN:
  14 the record, he -- Dr. Cruz didn't say that she was   14         Objection. Asked and answered --
  15 always in the 30s. He said that she was always in    15      THE WITNESS:
  16 the high end, meaning high end of 20s.               16         I would.
  17      MR. IRWIN:                                      17      MR. IRWIN:
  18         Object to the form of the question.          18         -- four or five times.
  19      THE WITNESS:                                    19      MS. JEFFCOTT:
  20         Yes.                                         20         That's all the questions I have.
  21 BY MS. JEFFCOTT:                                     21      MR. IRWIN:
  22    Q. And --                                         22         Any more questions?
  23    A. That's what he said.                           23      MS. JEFFCOTT:
  24    Q. Okay. And that she --                          24         That's all the questions I have.
  25    A. I'm --                                         25      MR. IRWIN:

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   1         Good. No further questions. Thank         1            WITNESS' CERTIFICATE
   2      you very much, Doctor.                       2
   3      THE VIDEOGRAPHER:                            3   I have read or have had the foregoing
   4         The time now is 11:39 a.m. Today's --     4 testimony read to me and hereby certify that it is
   5      THE WITNESS:                                 5 a true and correct transcription of my testimony
   6         I still --                                6 with the exception of any attached corrections or
   7      THE VIDEOGRAPHER:                            7 changes.
   8         -- deposition of Dr. --                   8
   9      THE WITNESS:                                 9
  10         I still have that aspirin --             10
  11      THE VIDEOGRAPHER:                           11
  12         -- Sammy Khatib consisting of two        12
  13      disks is now concluded.                     13
  14                                                  14
  15                                                  15
  16                                                  16
  17                                                  17
  18                                                  18               ______________________
  19                                                  19                 WITNESS' SIGNATURE
  20                                                  20
  21                                                  21
  22                                                  22
  23                                                  23 PLEASE INDICATE
  24                                                  24 [] NO CORRECTIONS
  25                                                  25 [] CORRECTIONS; ERRATA SHEET(S) ENCLOSED

                                          Page 147                                                        Page 149
   1       CHANGES AND SIGNATURE                       1            CERTIFICATE
   2 WITNESS NAME: SAMMY KHATIB, M.D.                  2   This certification is valid only for
   3 DATE OF DEPOSITION: Saturday, January 21, 2017    3 a transcript accompanied by my original signature
   4                                                   4 and original seal on this page.
   5   PAGE LINE     CHANGE          REASON            5   I, AURORA M. PERRIEN, Registered Professional
   6   ____ ____ _______________   _______________     6 Reporter, Certified Court Reporter, in and for the
   7   ____ ____ _______________   _______________     7 State of Louisiana, as the officer before whom
   8   ____ ____ _______________   _______________     8 this testimony was taken, do hereby certify that
   9   ____ ____ _______________   _______________     9 SAMMY KHATIB, M.D., after having been duly sworn
  10   ____ ____ _______________   _______________    10 by me upon the authority of R.S. 37:2554, did
  11   ____ ____ _______________   _______________    11 testify as hereinbefore set forth in the foregoing
  12   ____ ____ _______________   _______________    12 148 pages; that this testimony was reported by me
  13   ____ ____ _______________   _______________    13 in the stenotype reporting method, was prepared
  14   ____ ____ _______________   _______________    14 and transcribed by me or under my personal
  15   ____ ____ _______________   _______________    15 direction and supervision, and is a true and
  16   ____ ____ _______________   _______________    16 correct transcript to the best of my ability and
  17   ____ ____ _______________   _______________    17 understanding; that the transcript has been
  18   ____ ____ _______________   _______________    18 prepared in compliance with transcript format
  19   ____ ____ _______________   _______________    19 guidelines required by statute or by rules of the
  20   ____ ____ _______________   _______________    20 board; and that I am informed about the complete
  21   ____ ____ _______________   _______________    21 arrangement, financial or otherwise, with the
  22   ____ ____ _______________   _______________    22 person or entity making arrangements for
  23   ____ ____ _______________   _______________    23 deposition services; that I have acted in
  24   ____ ____ _______________   _______________    24 compliance with the prohibition on contractual
  25   ____ ____ _______________   _______________    25 relationships, as defined by Louisiana Code of


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   1 Civil Procedure Article 1434 and in rules and
   2 advisory opinions of the board; that I have no
   3 actual knowledge of any prohibited employment or
   4 contractual relationship, direct or indirect,
   5 between a court reporting firm and any party
   6 litigant in this matter nor is there any such
   7 relationship between myself and a party litigant
   8 in this matter. I am not related to counsel or to
   9 the parties herein, nor am I otherwise interested
  10 in the outcome of this matter.
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  15         AURORA M. PERRIEN, CCR, RPR
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